Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 1 of 122




                         Exhibit A
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 2 of 122




                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

                                               )
                                               )
SET CAPITAL LLC, et al., Individually and on   )
                                               )
Behalf of All Others Similarly Situated,       )
                                               )
                           Plaintiffs,         )
                                               ) Case No.: 1:18-cv-02268-AT-SN
             v.                                )
                                               )
CREDIT SUISSE GROUP AG, CREDIT SUISSE          )
AG, CREDIT SUISSE INTERNATIONAL,               )
TIDJANE THIAM, DAVID R. MATHERS,               )
JANUS HENDERSON GROUP PLC, JANUS               )
INDEX & CALCULATION SERVICES LLC,              )
and JANUS DISTRIBUTORS LLC d/b/a JANUS         )
HENDERSON DISTRIBUTORS,                        )
                                               )
                           Defendants.         )
                                               )
                                               )

        CONSOLIDATED THIRD AMENDED CLASS ACTION COMPLAINT
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 3 of 122




                                   DEFINITION OF TERMS


CBOE – Chicago Board Options Exchange, which created the VIX and VIX futures.

Calculation Agents – two entities, Credit Suisse International (“CSI”) and Janus Index &
Calculation Services LLC (“JIC”), that, among other things, provided calculation-related services
with respect to XIV.

Closing Indicative Value – generally, the value of XIV calculated at the end of each trading day.

ETN – Exchange Traded Note, an unsecured debt instrument traded on a major exchange that
functions similarly to a promissory note. ETNs are one type of Exchange Traded Product (“ETP”).

ETP – exchange traded product, of which ETNs are one type.

Futures contract – a contract representing a promise to buy or sell a particular commodity or
financial instrument at a predetermined price at some future date.

Intraday Indicative Value – as defined by Credit Suisse in its January Supplement,1 this value
was “designed to approximate the economic value of [XIV] at a given time[,]” and was “calculated
every 15 seconds . . . .” The Calculation Agents provided the Intraday Indicative Value to
NASDAQ for distribution to the market under the ticker XIVIV.

Offering Documents - the Offering Documents are Credit Suisse’s (i) January 29, 2018 pricing
supplement (No. VLS ETN-1/A48) (the “January Supplement”) filed with the SEC pursuant to
Rule 424(b)(2) and in conjunction with (ii) Registration Statement No. 333-218604-02, (iii)
prospectus supplement dated June 30, 2017, and (iv) prospectus dated June 30, 2017.

SPX – the Standard & Poor’s 500 Index (“S&P 500”), a stock index based on the 500 largest
companies whose stock is listed for trading on the New York Stock Exchange (“NYSE”) or
National Association of Securities Dealers Automated Quotations Exchange (“NASDAQ”).

SPVXSP – the ticker for the S&P 500 VIX Short-Term Futures Index, which tracks a portfolio of
first- and second-month VIX futures contracts with a weighted-average time to maturity of 30
days.

VIX or VIX Index – referred to as Wall Street’s “fear index” or “fear gauge,” the VIX or VIX
Index measures market volatility by providing a value intended to reflect how much the market
thinks the S&P 500 Index will fluctuate in the 30 days from the time of each tick of the VIX Index.

VIX futures – futures contracts that allow investors to trade and/or hedge an investment position
based on their assessment of future market volatility.



1
    January 29, 2018 pricing supplement (No. VLS ETN-1/A48).
     Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 4 of 122




XIV – The common name and trading ticker for VelocityShares Inverse VIX Short Term ETNs,
issued by Credit Suisse, sold by Janus, and traded on the NASDAQ.

XIVIV – the ticker by which XIV’s Intraday Indicative Value was transmitted.
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 5 of 122




                                                 TABLE OF CONTENTS

I.      NATURE AND SUMMARY OF THE ACTION .............................................................. 1
II.     JURISDICTION AND VENUE ......................................................................................... 9
III.    PARTIES .......................................................................................................................... 10
        A.         Lead Plaintiffs ....................................................................................................... 10
        B.         Credit Suisse Defendants ...................................................................................... 10
        C.         Janus Non-Defendants .......................................................................................... 13
IV.     CLASS ACTION ALLEGATIONS ................................................................................. 15
V.      EXCHANGE ACT ALLEGATIONS ............................................................................... 17
        A.         Credit Suisse Begins To Issue The XIV Notes ..................................................... 17
        B.         XIV’s Explosive Growth and Rapidly Increasing Price ....................................... 19
        C.         Credit Suisse Knew or Recklessly Disregarded Volatility Spikes That Led To
                   Liquidity Issues ..................................................................................................... 21
        D.         Credit Suisse Knew Or Recklessly Disregarded That XIV Investors Held Their
                   Notes For Long Periods, Enabling Credit Suisse To Profit .................................. 30
        E.         Credit Suisse’s Risk Management Structure Ensured The Individual Defendants
                   Knew Or Recklessly Disregarded The Undisclosed Liquidity Risks ................... 33
        F.         Individual Defendants Thiam and Mathers were Reckless as to the Misstatements
                   and Omissions in the Offering Documents ........................................................... 39
        G.         Credit Suisse Relieved Itself of Nearly All XIV-Related Risk and Maximized Its
                   Profit by Lending Millions of XIV Notes in Secret .............................................. 44
        H.         After An Extended Period Of Low Volatility, Credit Suisse Issued Millions More
                   XIV Notes On January 29, 2018, Making More Money While Planning To Profit
                   From An Imminent VIX Spike ............................................................................. 49
        I.         Defendant Thiam’s Restructuring Plan Provided Additional Incentive For Credit
                   Suisse To Destroy XIV ......................................................................................... 51
        J.         XIV’s “Calculation Agents” ................................................................................. 54
        K.         XIV’s Closing Indicative Value and Intraday Indicative Value ........................... 56
        L.         Credit Suisse’s Manipulative Scheme Succeeds and Steamrolls Over XIV
                   Investors ................................................................................................................ 61
        M.         Credit Suisse Issues Materially False and Misleading XIV Intraday Indicative
                   Values On February 5, 2018 ................................................................................. 65
        N.         Credit Suisse Recklessly Failed to Correct the Flatline Price Even Though It
                   Knew or Recklessly Disregarded that The Flatline Indicative Value was False . 71
        O.         Investors Lose Hundreds of Millions Due To Defendants’ False and Misleading
                   Intraday Indicative Value ...................................................................................... 73




                                                                     i
        Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 6 of 122




         P.       Credit Suisse Scheme Results in Hundreds of Millions In Profits and Avoided
                  Costs for It at the Expense of Investors ................................................................ 74
         Q.       The Credit Suisse Defendants Announce an Acceleration Event, Locking In Their
                  Benefits Through Profits and Avoided Redemption Costs ................................... 76
         R.       Facing Investor Outrage and Government Investigations, The Credit Suisse
                  Defendants Actively Attempt to Conceal Their Fraud ......................................... 77
         S.       Defendants’ Other False And Misleading Statements And Omissions ................ 82
         T.       Additional Allegations of Defendants’ Scienter ................................................... 89
         U.       Loss Causation And Economic Loss .................................................................... 94
         V.       Applicability of Presumption of Reliance—Fraud On The Market Doctrine and
                  Affiliated Ute Allegations ..................................................................................... 96
         W.       No Safe Harbor ..................................................................................................... 97
VI.      CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT............................................. 98
VII.     SECURITIES ACT ALLEGATIONS ............................................................................ 102
         A.       The Offering Documents .................................................................................... 102
         B.       False And Misleading Statements In The Offering Documents ......................... 103
         C.       Claims For Relief Under The Securities Act ...................................................... 111
VIII.    JURY TRIAL DEMAND ............................................................................................... 114
IX.      PRAYER FOR RELIEF ................................................................................................. 114




                                                                 ii
        Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 7 of 122




          Lead Plaintiffs Set Capital LLC, Stefan Jager, Aleksandr Gamburg, and Apollo Asset Ltd.

(collectively, “Lead Plaintiffs”), through their undersigned attorneys, bring this action on behalf

of themselves and all similarly situated purchasers of VelocityShares Inverse VIX Short Term

ETNs, commonly known as and traded under the name XIV (“XIV”), between January 29, 2018

and February 5, 2018, inclusive (the “Class Period”), against Credit Suisse Group AG and Credit

Suisse AG (together, “Credit Suisse” or the “Bank”);2 Credit Suisse’s Chief Executive Officer

(“CEO”) Tidjane Thiam (“Thiam”); its Chief Financial Officer (“CFO”) David R. Mathers

(“Mathers,” and, together with Thiam, the “Individual Defendants”) (collectively, Credit Suisse

Group AG, Credit Suisse AG, Thiam, and Mathers are the Defendants).

          Lead Plaintiffs allege the following based on their personal knowledge, on information and

belief, on the investigation by Lead Plaintiffs’ counsel, which included a review of relevant U.S.

Securities and Exchange Commission (“SEC”) filings by Credit Suisse, records of judicial

proceedings in the United States District Court for the Southern District of New York, regulatory

filings and reports, press releases, public statements, news articles, other publications, securities

analysts’ reports and advisories about Credit Suisse and XIV, other readily obtainable information,

and consultations with experts, and on extensive discovery in this matter, which included

document productions from Credit Suisse and certain third parties and depositions.

I.        NATURE AND SUMMARY OF THE ACTION

          1.     On February 5, 2018, XIV lost 96% of its value, or approximately $1.8 billion, in

    a single day, devastating investors. Both prior to and during the Class Period, and unbeknownst

    to investors, Defendants engaged in a scheme to sell millions of XIV Notes to investors for




2
 As explained below, because Credit Suisse Group AG and Credit Suisse AG are, as a practical
matter, synonymous, both entities are referred to herein as “Credit Suisse” or the “Bank.”

                                                  1
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 8 of 122




hundreds of millions of dollars, knowing XIV was destined to fail. As Defendants’ scheme came

to fruition, causing XIV’s value to nosedive on February 5, 2018, Defendants compounded the

harm to investors by issuing materially false and misleading pricing information regarding XIV

that led investors to buy even more XIV Notes at drastically inflated values. As a result of

Defendants’ fraud, they reaped millions in profits and saved Credit Suisse hundreds of millions

in redemptions at the expense of their own investors, who were left holding virtually worthless

securities.

       2.     XIV was an Exchange Traded Note (“ETN”) issued and sold by Credit Suisse. XIV

was created in 2010 to track the inverse of VIX futures contracts. In other words, when VIX

futures contracts decreased in value by 1%, XIV increased in value by 1%, and vice versa. VIX

futures generally measure expected volatility—how much a security price is anticipated to change

over a given period of time—in the broader market. Because the market, and thus VIX futures,

experienced a years-long extended period of declining volatility, punctuated only briefly by

spikes in volatility, XIV investors generally received extraordinary returns for years, making XIV

one of the most popular volatility ETNs on the market, particularly for unsophisticated retail

investors.

       3.     However, during at least three brief occasions during the life of XIV, market

volatility spiked significantly. During these brief volatility spikes, VIX futures prices spiked at

the end of the trading day in a manner disproportionate to what would normally be expected.

These large price movements were caused by Credit Suisse and other volatility-related ETN and

ETF (“Volatility Securities”) issuers placing hedging trades to protect their balance sheets, i.e.

buying VIX futures to offset the risk posed by the Volatility Securities they issued. Credit Suisse,

for instance, engaged in such hedging to protect itself in the event an XIV investor sought to




                                                2
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 9 of 122




redeem his or her XIV Notes, since Credit Suisse was obligated to pay the investor the value of

the Notes. Credit Suisse did so by holding short positions in VIX futures, so that when VIX

futures prices dropped, Credit Suisse made money from the short positions, which in turn offset

the resulting higher XIV prices, and thus higher redemption values, that Credit Suisse was

required to pay XIV investors who wanted to redeem their Notes.

      4.      Due to the growth of the Volatility Securities market, and particularly due to the

massive growth in the value and number of XIV Notes Credit Suisse intentionally issued,

Defendants knew or recklessly disregarded that there was not sufficient liquidity—that is, not

enough VIX futures—to allow Volatility Securities holders to hedge their positions during

volatility spikes. Further, based on their experience with these previous volatility spikes and their

regular analysis of the XIV market, Defendants knew that when the inevitable next volatility spike

occurred, these Volatily Securities holders would necessarily amplify the spike in VIX futures

prices by covering or hedging their positions, causing XIV to be driven into the ground (often

referred to as a “Feedback Loop”).

      5.      Defendants also knew or recklessly disregarded that many investors were holding

XIV Notes for extended periods and that large quantities of XIV Notes were being purchased and

held by individual retail investors. This information was publicly available through news outlets

at the time, and was evident from the “Trade XIV” Reddit page which was used by hundreds of

Reddit members. And they knew or recklessly disregarded, due to Credit Suisse’s risk protocols

and modeling, that another volatility spike similar to the three Credit Suisse had experienced in

recent years was inevitable.

      6.      Credit Suisse had substantial risk reporting mechanisms and protocols in place to

ensure senior executives actively monitored and managed the risks XIV posed to Credit Suisse.




                                                 3
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 10 of 122




Under these protocols, the liquidity issues in the VIX futures market were reported to Credit

Suisse’s senior executives, including Defendant Mathers. Thus, Defendants were fully aware

that, once volatility returned – as it was statistically certain to do – the liquidity squeeze in the

VIX futures market would cause the price of those futures to spike. Recognizing the threat this

lack of liquidity posed to Credit Suisse, Credit Suisse announced on July 1, 2016 that it now had

the unilateral right to demand purchasers of XIV Notes sell Credit Suisse various hedging

instruments, such as products known as “swaps,” to help Credit Suisse protect its own balance

sheet.

         7.   Despite actively protecting Credit Suisse from this liquidity threat, the Credit Suisse

Defendants did nothing to protect XIV’s investors or disclose the liquidity threat to their

investments. Rather, Credit Suisse saw an opportunity to use the lack of liquidity to profit—and

rid itself of the cost of redemption of XIV Notes—at its investors’ expense. First, they continued

to issue millions more XIV Notes to unsuspecting investors, exasperating the liquity issue in the

market. During the Class Period, investors paid Credit Suisse prices as high as $135 per XIV

Note. Second, they continued to lend out XIV Notes to unsuspecting borrowers, shifting to those

borrowers the risk of needing to hedge their positions in the event of the inevitable liquidity spike.

Specifically, Credit Suisse actively incentivized short-sellers in the XIV market by reducing their

lending rates, increasing their creation fees, and steering hedge funds and other market

participants towards borrowing XIV. Credit Suisse knew that these short-sellers, like Credit

Suisse itself, would either be incentivized to trigger an XIV collapse or would need to hedge their

short positions, either of which they could accomplish by driving up the price of VIX futures,

thereby drawing down the price of XIV Notes. Finally, Credit Suisse reserved for itself the right

to announce an “Acceleration Event” should XIV’s price decline by 80% or more, giving it the




                                                 4
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 11 of 122




ability to pay XIV investors pennies on the dollar in a forced redemption of their Notes, rather

than giving the Note the opportunity to rebound in the event of the inevitable volatility spike. As

one analyst later put it, Credit Suisse induced XIV investors to effectively “collect[] pennies in

front of a steamroller.”

      8.      On February 5, 2018—just days after it offered an additional 16.275 million XIV

Notes—Credit Suisse’s undisclosed bet paid off and the risks of their false and misleading

statements and omissions materialized. On that day, volatility returned, driving up the price of

VIX futures with it. After the close of regular market trading at 4:00 p.m., Credit Suisse began

to buy up thousands of VIX futures contracts, driving up the price of VIX futures and intentionally

contributing to the destruction of the value of XIV. The vast majority of VIX futures that

afternoon were traded by only six entities, at least three of which had been directly engaged in

short-selling XIV Notes through borrowing directly from Credit Suisse and one of which (the

largest), was an issuer of Volatility Securities like Credit Suisse.

      9.      By 4:09 p.m., Credit Suisse knew the large purchases of VIX futures contracts had

driven XIV’s value to approximately $20, which was more than an 80% drop in value from the

previous day’s closing value, and thus that an Acceleration Event had occurred. But the Credit

Suisse Defendants, instead of announcing an Acceleration Event, halting trading, or otherwise

protecting investors, continued to benefit from a liquidity squeeze in the VIX futures market. By

4:15 p.m., Credit Suisse knew, based on the prices of the VIX futures contracts it was buying,

that 96% of XIV’s value had been wiped out.

      10.     But this was only part one of the two-part fraud perpetrated on XIV investors.

Beginning at approximately 4:09 p.m. that same day, Credit Suisse knowingly or recklessly

stopped updating XIV’s “Intraday Indicative Value,” a value Defendants misleadingly told




                                                 5
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 12 of 122




investors approximated the actual value of XIV and would be updated every fifteen seconds based

on real-time prices of VIX futures contracts.

      11.     Between about 4:09 p.m. and 5:09 p.m., Defendants falsely represented to investors

that XIV’s Intraday Indicative Value was between about $24 and $27 per Note, thus concealing

that XIV had suffered an Acceleration Event, and thereby leading investors to purchase

approximately $700 million more in XIV Notes at artificially inflated prices. Had the Intraday

Indicative Value been properly and accurately disseminated as promised, investors would have

known that XIV was, in fact, worth between $4.22 and $4.40 per Note, and thus that it had

experienced a catastrophic Acceleration Event that would lead to the forced redemption of all

XIV Notes for pennies on the dollar. Credit Suisse knew that the XIV Intraday Indicative Value

being distributed to investors was false at the time because Credit Suisse had created its own

internal system for calculating the intraday value of XIV that was “live ticking internally,” in that

it was updated continuously and in real time. This internal system was accessible to Credit

Suisse’s traders and other Credit Suisse employees involved in hedging and selling XIV, and

during the “Flatline Period” was both actively monitored by Credit Suisse traders and showed the

accurate value of XIV during the “Flatline Period.” Credit Suisse’s traders and other Credit Suisse

employees also had access to Bloomberg terminals that provided the accurate live trading price

during the Flatline Period. Despite knowing that the Flatline Value was false and having access

to a real time contemporaneous, correct calculation of the Intraday Indicative Value, Credit Suisse

failed to correct the Flatline Value or declare a market disruption event, and instead continued to

deceive investors who were purchasing XIV based on the false Flatline XIV Intraday Indicative

Value.




                                                 6
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 13 of 122




      12.     This failure to update XIV’s Intraday Indicative Value allowed Credit Suisse to

continue to profit at its investors’ expense.

      13.     It was not until 5:09:05 p.m. that Credit Suisse finally updated the Intraday

Indicative Value to $4.2217 per Note, approximately 1/6th the artificially inflated value they

disseminated during the previous hour.

      14.     The next day, Credit Suisse announced that it was redeeming all XIV Notes, citing

as its reason that an Acceleration Event occurred as a result of the greater than 80% drop in XIV’s

Intraday Indicative Value the previous day. Credit Suisse locked these losses for investors—and

the millions in redemption savings for itself—in, despite the fact that Credit Suisse knew XIV

would have otherwise rebounded in the days after, mitigating investors losses.

      15.     On February 21, 2018, XIV was terminated and all Notes were redeemed at $5.99

per Note.

      16.     Tellingly, Credit Suisse also announced that, unlike XIV investors, it had not

suffered any losses on February 5, 2018, admitting it had protected itself from the inevitable

volatility spike through its hedging activities. Although not disclosed at the time, Credit Suisse

not only protected itself through its hedging and lending activities, but also profited handsomely,

making $35 million at the expense of its investors and saving itself hundreds of millions of dollars

in redemptions.

      17.     Indeed, on April 25, 2018, Credit Suisse reported that it had made approximately

$490 million in its equity sales and trading division for the fiscal quarter ended March 31, 2018,

a 30% increase compared the previous quarter, stating that the impressive figures were “due to




                                                7
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 14 of 122




    more favorable trading conditions, particularly higher levels of volatility which benefited our

    derivatives business.”3 (Emphasis added).

          18.     The events of February 5, 2018 shocked the market, with reporters and investors

    questioning Credit Suisse as to how XIV could have collapsed so quickly and dramatically,

    causing investors to lose billions of dollars. Further, the SEC began to investigate Credit Suisse

    and its role in XIV’s collapse. In response, the Credit Suisse Defendants actively attempted to

    conceal the fraud by issuing a series of incoherent explanations, many of which were patently

    false. For example, on February 14, 2018, Defendant Thiam was interviewed by Bloomberg and

    made clear that he was actively involved in and aware of the scheme to defraud investors and

    XIV’s crash, falsely stating that the Acceleration Event “was actually to protect investors.

    Because the product stopped trading, it was quasi-impossible to price, and we needed to give

    certainty to the market at the market open. So before the morning—and this—we went through

    a long process, we don’t make these decisions lightly, there are people involved from every aspect

    of the business, from compliance to the front office—and they collectively—I don’t make those

    types of decisions—they collectively reached a decision which was in the interest of investors,

    which was to close it. But there are quite a few products like that in the market, because they

    serve a useful purpose. They allow market participants to manage their risk better.” 4 (Emphasis

    added).




3
  https://www.sec.gov/Archives/edgar/data/1053092/000137036818000025/a180425q1-
ex99_1.htm
4
  https://www.bloomberg.com/news/articles/2018-02-14/credit-suisse-s-thiam-warns-volatility-
is-a-double-edged-sword

                                                   8
      Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 15 of 122




        19.    Given that investors lost approximately $1.8 billion in value, and based on internal

conversations that took place at the time at Credit Suisse, Credit Suisse and Thiam knew that its

claim the Acceleration Event was announced to “protect investors” was patently false.

        20.    In reality, had Credit Suisse not forcibly redeemed XIV Notes “to protect

investors,” XIV’s value would have stabilized rapidly —a fact Credit Suisse was aware of at the

time it terminated the Note. As internal documents demonstrate, the real reason that Credit Suisse

accelerated the Notes was that “

                                                              ”, costing the Company hundreds of

millions in redemptions (XIV-LIT-001043222-23). By March 6, 2018, as volatility levels

stabilized and returned to normal, XIV would have been worth approximately $30.88. Instead,

Credit Suisse forcibly redeemed all XIV Notes at $5.99 per Note, locking in its profits and saving

itself hundreds of millions from having to “call it” at a future date.

II.      JURISDICTION AND VENUE

        21.    This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331, § 27 of the Exchange Act, and § 22 of the Securities Act. The claims asserted herein arise

under §§ 9(a), 9(f), 10(b), and 20(a) of the Exchange Act (15 U.S.C. §§ 78i(a), 78i(f), 78j(b), and

78t(a)), Rule 10b-5(a)-(c) promulgated thereunder (17 C.F.R. §§ 240.10b-5(a)-(c)), and under

§§ 11 and 15 of the Securities Act (15 U.S.C. §§ 77k, 77o).

        22.    Venue is proper in this District pursuant to Section 27 of the Exchange Act, Section

22 of the Securities Act, and 28 U.S.C. §1391(b) and (c) because one or more Defendants may be

found or reside here or had agents in this district, transacted or is licensed to transact business in

this district, and because a substantial portion of the affected trade and commerce described below

has been carried out in this district.




                                                 9
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 16 of 122




         23.   In connection with the acts and conduct alleged in this Consolidated Class Action

Complaint (“Consolidated Complaint”), Defendants, directly or indirectly, used the means and

instrumentalities of interstate commerce, including, but not limited to, the mail, interstate

telephone communications, and the facilities of the national securities markets.

III.      PARTIES

   A. Lead Plaintiffs

         24.   Lead Plaintiff Set Capital LLC purchased XIV Notes during the Class Period and

suffered damages as a result of the violations of the federal securities laws alleged herein. On

June 21, 2018, the Court appointed Set Capital LLC as a Lead Plaintiff for the Class. ECF No.

22.

         25.   Lead Plaintiff Stefan Jager is an individual investor who purchased XIV Notes

during the Class Period and suffered damages as a result of the violations of the federal securities

laws alleged herein. On June 21, 2018, the Court appointed Mr. Jager as a Lead Plaintiff for the

Class. ECF No. 22.

         26.   Lead Plaintiff Aleksandr Gamburg is an individual investor who purchased XIV

Notes during the Class Period and suffered damages as a result of the violations of the federal

securities laws alleged herein. On June 21, 2018, the Court appointed Mr. Gamburg as a Lead

Plaintiff for the Class. ECF No. 22.

         27.   Lead Plaintiff Apollo Asset Ltd. purchased XIV Notes during the Class Period and

suffered damages as a result of the violations of the federal securities laws alleged herein. On

June 21, 2018, the Court appointed Apollo Asset Ltd. as a Lead Plaintiff for the Class. ECF No.

22.

   B. Credit Suisse Defendants




                                                10
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 17 of 122




      28.     Defendant Credit Suisse Group AG is a Swiss multinational financial service

holding company with its headquarters in Zurich, Switzerland and its United States operations

located at 11 Madison Avenue, New York, NY 10010.

      29.     Defendant Credit Suisse AG is the direct bank subsidiary of Credit Suisse Group

AG and is domiciled in Zurich, Switzerland. Credit Suisse AG issued XIV Notes. Pursuant to

the Form 20-F filed by Credit Suisse Group AG with the SEC on March 28, 2018 (“2017 Form

20-F), as of December 31, 2017, Credit Suisse Group AG held a 100% equity interest in Credit

Suisse AG. Credit Suisse AG accounts for over 3.997 CHF billion of Credit Suisse Group AG’s

nominal capital. According to Credit Suisse’s website, the composition of the Executive Board

of Credit Suisse and Credit Suisse AG is identical, with the exception of one individual not named

in this Consolidated Complaint. Because Credit Suisse Group AG and Credit Suisse AG are, as

a practical matter, synonymous, both entities are referred to herein as “Credit Suisse” or the

“Bank.”

      30.     Credit Suisse International (“CSI”) is a subsidiary of Credit Suisse AG that is

domiciled in London, United Kingdom, and is an unlimited company incorporated in England

and Wales. As of December 31, 2017, Credit Suisse AG and Credit Suisse Group AG hold 98%

and 2% of the voting rights and a 98% and 2% of the equity interest in CSI, respectively. In the

2017 Form 20-F, Credit Suisse Group AG describes CSI as a “major” subsidiary, as CSI, in

combination with three other subsidiaries, “account for a significant portion of [Credit Suisse]’s

business operations.” As of December 31, 2017, CSI accounted for 12.366 USD billion of Credit

Suisse Group AG’s nominal capital. Credit Suisse Group AG’s Chief Financial Officer, David

R. Mathers, serves as CSI’s Chief Executive Officer.




                                               11
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 18 of 122




      31.     In 2010, VelocityShares LLC created VelocityShares Inverse VIX Short Term

Exchange Traded Notes, commonly known as and trading under the name XIV. In November

2010, Credit Suisse began issuing XIV Notes.

      32.     One of the Credit Suisse Group AG board of directors’ committees is its Risk

Committee. As described in its Form 20-F filed with the SEC on March 23, 2018 (2017 Form

20-F), the “Risk Committee is responsible for assisting the Board in fulfilling its oversight

responsibilities by providing guidance regarding risk governance and the development of our risk

profile and capital adequacy, including the regular review of major risk exposures and overall risk

limits.” Credit Suisse Group AG’s board members may serve as members of the Risk Committee

or on the boards of Credit Suisse Group AG’s subsidiaries. During the Class Period, two members

of CSI’s board of directors served as members of Credit Suisse Group AG’s board of directors

and its Risk Committee, including as the Chairman of the Risk Committee.

      33.     Defendant Tidjane Thiam has served as the CEO of Credit Suisse since July 1,

2015, and as a member of the Executive Board at Credit Suisse since 2015. As part of his duties

as CEO, Defendant Thiam was a member of the Capital Allocation and Risk Management

Committee (“CARMC”).

      34.     Defendant David R. Mathers has served as the CFO of Credit Suisse and a member

of the Executive Board since October 2010. Mathers also serves as CEO of CSI. As part of his

duties as CFO, Defendant Mathers was a member of the CARMC and the chair of the Valuation

Risk Management Committee (“VARMC”). Mathers also served on the UK MRC, a subsidiary

to the CARMC. According to Mathers, this group was “similar to the [CARMC], ” except it

focused specifically on the risk limits that related to U.K. subsidiaries of Credit Suisse. Given




                                               12
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 19 of 122




his role on the UK MRC, Mathers would have attended the UK MRC meetings when results XIV

risk analysis were presented.

      35.     Prior to his appointment as CFO, Mathers was the Head of Finance and the COO

for Investment Banking in New York and London from 2007 to 2010. In this role, he was

responsible for Investment Banking Finance, Operations, Expense Management and Strategy.

Mathers joined Credit Suisse in 1998, working in a number of senior positions in Credit Suisse’s

Equity business, including the Director of European Research and the Co-Head of European

Equities.

      36.     Defendants Thiam and Mathers together are referred to herein as the “Individual

Defendants.” The Individual Defendants, in part because of their positions with the Bank,

possessed the power and authority to control the contents of Credit Suisse’s filings with the SEC,

as well as its press releases and presentations to securities analysts, money and portfolio managers

and investors, i.e., the market.    Each Individual Defendant made or controlled the public

statements alleged herein to be false or misleading, and had the ability and opportunity to prevent

those statements from being disseminated to the market or cause them to be corrected during their

tenure with the Bank. Because of their positions and access to material non-public information

available to them, each of these Defendants knew that the adverse facts specified herein had not

been disclosed to, and were being concealed from, the investing public, and that the positive

representations which were being made were then materially false and/or misleading.

      37.     Credit Suisse, CSI, Thiam, and Mathers are collectively referred to herein as

“Defendants.”

  C. Janus Non-Defendants

      38.     Janus Henderson Group plc is an asset management holding entity based in London,

United Kingdom. VelocityShares LLC was the original creator of XIV. On December 1, 2014,


                                                13
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 20 of 122




Janus Capital Group Inc. acquired VS Holdings Inc., the parent company of Velocity Shares LLC,

a Darien, Connecticut-based asset manager. On July 21, 2015, VelocityShares LLC, and its

division, Velocity Index & Calculation Services, were renamed as Janus Index & Calculation

Services LLC (“JIC”). Thereafter, on May 30, 2017, Janus Capital Group Inc. and the Henderson

Group completed their merger of equals to become the Janus Henderson Group plc (“Janus”).

Also, on May 30, 2017, Janus completed the acquisitions of these relevant controlled entities: VS

Holdings Inc., JIC, and Janus Distributors LLC. In 2017, Janus Distributors LLC began doing

business as Janus Henderson Distributors (“JHD”).

      39.     Janus Index & Calculation Services LLC (“JIC”) is Delaware limited liability

company. On May 30, 2017, Janus Henderson Group plc completed its acquisition of its

controlled entity, JIC. According to Janus Henderson Group plc’s Exhibit 21.1 to its Form 10-K

filed with the SEC on February 27, 2018, JIC is 100% owned by Janus Henderson Group plc.

Prior to July 21, 2015, JIC was known as Velocity Index & Calculation Services.

      40.     Janus Distributors LLC is a Delaware limited liability company doing business as

Janus Henderson Distributors (“JHD”). On May 30, 2017, Janus Henderson Group plc completed

its acquisition of its controlled entity, Janus Distributors LLC. According to Exhibit 21.1 to Janus

Henderson Group plc’s Form 10-K filed with the SEC on February 27, 2018, JHD is 100% owned

by Janus Henderson Group plc. Prior to July 21, 2015, Janus Distributors LLC was known as

Velocity Index & Calculation Services. Janus Distributors LLC is the general distributor and

agent for the sale and distribution of shares of domestic mutual funds that are directly advised or

serviced by certain of Janus’ subsidiaries, as well as the distribution of certain commingled funds

and exchange-traded products.




                                                14
      Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 21 of 122




        41.    In 2010, VelocityShares LLC created VelocityShares Inverse VIX Short Term

Exchange Traded Notes, commonly known as and trading under the name XIV. In November

2010, Credit Suisse entered into a non-exclusive license agreement with JIC, as successor to

Velocity Index & Calculation Services, to license for a fee, the right to use certain XIV and

VelocityShares trade names, trademarks and service marks, which are owned by Janus, doing

business as Janus Henderson Investors. Credit Suisse then began issuing XIV notes. Janus’s

subsidiary JIC serves as a Calculation Agent for XIV, and its subsidiary JHD markets and places

XIV notes.

IV.      CLASS ACTION ALLEGATIONS

        42.    Lead Plaintiffs bring this class action pursuant to Federal Rules of Civil Procedure

23(a) and 23(b) on their own behalf and on behalf of:

        all persons and entities that purchased or acquired VelocityShares Inverse VIX Short
        Term Exchange Traded Notes between January 29, 2018 and February 5, 2018,
        inclusive (the “Misrepresentation Class Period”), and who were damaged thereby (the
        “10b-5(b) Class”).

        43.    Lead Plaintiffs also bring this class action pursuant to Federal Rules of Civil

Procedure 23(a) and 23(b) on their own behalf and on behalf of:

        all persons and entities that sold or redeemed the VelocityShares Inverse VIX Short
        Term Exchange Traded Notes on or after February 5, 2018 (the “Manipulation Class
        Period”) and who were damaged thereby (the “10b-5(a) and (c) Class” and, together
        with the 10b-5(b) Class, the “Exchange Act Classes”)

        44.    Lead Plaintiffs also bring this class action pursuant to Federal Rules of Civil

Procedure 23(a) and 23(b) on their own behalf and on behalf of:

        all persons and entities that purchased or acquired VelocityShares Inverse VIX Short
        Term Exchange Traded Notes pursuant to or traceable to Credit Suisse’s Offering
        Documents, and were damaged thereby (the “Securities Act Class”). The Offering
        Documents are Credit Suisse’s (i) January 29, 2018 pricing supplement (No. VLS
        ETN-1/A48) filed with the Securities and Exchange Commission (“SEC”) pursuant to
        Rule 424(b)(2) and in conjunction with (ii) Registration Statement No. 333-218604-




                                                15
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 22 of 122




      02, (iii) prospectus supplement dated June 30, 2017, and (iv) prospectus dated June 30,
      2017.

      45.     The members of the Classes are so numerous that joinder of all members is

impracticable. While the exact number of members of the Class is unknown to Lead Plaintiffs at

this time and can only be ascertained through appropriate discovery, Lead Plaintiffs believe that

there are thousands of members in the proposed Classes. Record owners and other members of

the Classes may be identified from records maintained by Credit Suisse or its transfer agent and

may be notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

      46.     Lead Plaintiffs’ claims are typical of the claims of the Classes in that all members

of the Classes were damaged by the same wrongful conduct of Defendants as alleged herein, and

the relief sought is common to the Classes.

      47.     Numerous questions of law or fact arise from Defendants’ conduct that is common

to the Classes, including but not limited to:

                  a. whether the federal securities laws were violated by Defendants’ acts during
                     the Class Period, as alleged herein;

                  b. whether statements made by Defendants to the investing public during the
                     Class Period misrepresented material facts about the business and
                     operations of Credit Suisse and XIV;

                  c. whether the price of XIV Notes was artificially inflated and/or maintained
                     during the Class Period;

                  d. whether Defendants manipulated the price of XIV during the Class Period;
                     and

                  e. to what extent the members of the Classes have sustained damages and the
                     proper measure of damages.




                                                16
         Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 23 of 122




           48.      These and other questions of law and fact are common to the Classes and

    predominate over any questions affecting only individual members of Exchange Act and

    Securities Act Classes.

           49.      Lead Plaintiffs will fairly and adequately represent the interests of the Classes in

    that they have no conflict with any other members of the Classes. Furthermore, Lead Plaintiffs

    have retained competent counsel experienced in class action and other complex litigation.

           50.      This class action is superior to the alternatives, if any, for the fair and efficient

    adjudication of this controversy. Prosecution as a class action will eliminate the possibility of

    repetitive litigation. There will be no material difficulty in the management of this action as a

    class action.

           51.      The prosecution of separate actions by individual members of the Classes would

    create the risk of inconsistent or varying adjudications, establishing incompatible standards of

    conduct for Defendants.

    V.        EXCHANGE ACT ALLEGATIONS

           A.       Credit Suisse Begins To Issue The XIV Notes

           52.      In 1993, the Chicago Board Options Exchange developed a metric intended to

    measure the near-term expected volatility in the broad equity market, as demonstrated by prices

    of options on the S&P 500 Index5 (“SPX”). This measure of expected volatility, known as the

    VIX Index or simply the VIX, is sometimes referred to as Wall Street’s “fear index” or “fear

    gauge.”

           53.      The VIX tracks higher when the market is anticipating increased volatility, and

    tracks lower when the market anticipates less volatility in the coming 30 days. On its website,


5
 A stock index based on the 500 largest companies whose stock is listed for trading on the NYSE
or NASDAQ.

                                                     17
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 24 of 122




the CBOE states that “the VIX Index is intended to provide an instantaneous measure of how

much the market “thinks” the S&P 500 Index will fluctuate in the 30 days from the time of each

tick of the VIX Index.”

      54.     In 2004, the CBOE created VIX futures. Futures contracts represent a promise,

generally made through a futures exchange, to buy or sell a particular commodity or financial

instrument at a predetermined price at some future date.

      55.     In 2006, the CBOE created VIX options. An option gives the buyer the opportunity,

although not the obligation, to buy or sell a given security at an agreed upon price within a certain

period of time.

      56.     VIX futures and options essentially allow investors to trade and/or hedge an

investment position based on their assessment of future market volatility.

      57.     In 2010, VelocityShares LLC created VelocityShares Inverse VIX Short Term

Exchange Traded Notes, commonly known as and traded under the name XIV. An Exchange

Traded Note, or ETN, is an unsecured debt instrument traded on a major exchange. ETNs

function somewhat like promissory notes, in that investors pay money to the institution

sponsoring the ETN, and upon maturity, receive money. Unlike traditional promissory notes,

however, the value of ETNs such as XIV is derived from a particular market index—here an index

tracking short-term VIX futures—and payment is subject to the creditworthiness of the sponsor

issuing the ETN. In advance of the maturity date, XIV Note holders had the right to cause Credit

Suisse to redeem their Notes.

      58.     The value of XIV was derived from the inverse value of the daily returns of the

S&P 500 VIX Short-Term Futures Index (“SPVXSP”), which tracks a portfolio of first- and

second-month VIX futures contracts with a weighted-average time to maturity of thirty days. This




                                                18
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 25 of 122




means that, generally speaking, when the SPVXSP went down 1% in one trading day, XIV was

designed to go up 1% that same trading day, and vice versa.

      59.      In November 2010, Credit Suisse entered into a non-exclusive license agreement

with JIC, as successor to Velocity Index & Calculation Services, to license for a fee, the right to

use certain XIV and VelocityShares trade names, trademarks and service marks. Credit Suisse

then began issuing XIV Notes.

      60.     Credit Suisse (and Janus) earned a Daily Investor Fee, annually 1.35%, on a daily

basis. When XIV grew to a total value of $1.9 billion in market capitalization, for instance, Credit

Suisse (and Janus) collected at least $25,650,000 in annual fees. Notably, when XIV increased

in value on any given day, Credit Suisse collected a commensurately larger daily fee. Thus, as

XIV grew and grew, Credit Suisse collected more and more in fees.

  B. XIV’s Explosive Growth and Rapidly Increasing Price

      61.     From the initial issue of XIV in 2010, when XIV opened at $10 per share, XIV’s

price rose dramatically. After a 10:1 split on June 27, 2011, that took its price from $160 to $16,

XIV rose again to $146 at the beginning of 2018. During the seven years prior to February 5,

2018, the average annual return on XIV was 41%. During the year and a half preceding February

5, 2018, XIV increased from $18 to $146.44, or 813%. By holding their XIV Notes, investors

were seeing massive returns. Accordingly, Credit Suisse knew that XIV investors were not using

the Notes as a “tool []to manage daily trading risks,” as characterized in the January Supplement.

These large returns are depicted below:




                                                19
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 26 of 122




      62.     Indeed, as shown below, XIV dramatically outperformed returns on the S&P 500

Index, which itself experienced an extraordinary period of growth during the same time period.

For example, in 2017, XIV had annual returns of 187.5%, compared to an S&P 500 return of 22%

in an extraordinary bull market.




                                             20
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 27 of 122




  C. Credit Suisse Knew or Recklessly Disregarded Volatility Spikes That Led To
     Liquidity Issues

      63.     Over time, Credit Suisse continued to issue more and more XIV Notes to

unsuspecting investors. On June 30, 2017, for instance, Credit Suisse offered an additional

5,000,000 XIV Notes on top of the 9,018,880 Notes that were already issued and outstanding. On

January 29, 2018, Credit Suisse offered an additional 16,275,000 Notes to replace the 10,793,880

XIV Notes then-outstanding, of which over 4 million were actually issued between January 29

and XIV’s collapse on February 5. The issuance of new Notes, combined with the rise in XIV’s

value, led XIV’s market cap to increase to approximately $1.9 billion by February 2018.

      64.     Credit Suisse continued issuing more XIV Notes and allowing the market cap to

rise despite its knowledge that, the next time VIX’s volatility spiked, as it did every few years,

XIV’s viability would be threatened. See, e.g.,




      65.     Unbeknownst to investors, however, Credit Suisse, took advantage of these issues

to ensure it would profit at its investors’ expense and avoid having to pay out costly redemptions

to XIV’s purchasers.

      66.     The cost and availability of VIX futures during VIX spikes is largely driven by

hedging activity by VIX-related Exchange Traded Product (“ETP”) issuers, including, most

critically, Credit Suisse seeking to protect their balance sheets. Because of the requirement that

ETN issuers pay note holders the value of the ETN when investors seek to redeem their notes,



                                               21
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 28 of 122




    ETN issuers, like Credit Suisse, do not want to put their balance sheets at risk by leaving the full

    position “unhedged.” For instance, from XIV’s inception to February 2, 2018, Credit Suisse was

    required to redeem at least 509 million XIV Notes (split-adjusted) for $13.3 billion at an average

    price of $26.05 per Note. Had Credit Suisse not hedged its XIV position continually, Credit

    Suisse would have lost about $364 million to fulfill its redemption obligation to investors.6

          67.     To hedge its exposure to XIV, Credit Suisse needed to hold largely short positions

    in VIX futures (or swaps or options), which, as explained above, are inversely related to XIV.

    Thus, when VIX futures prices dropped, Credit Suisse made money from its short positions,

    which offset the ensuing higher XIV prices—and thus higher redemption values—Credit Suisse

    was required to pay to XIV investors seeking to redeem their Notes.

          68.     To adjust its VIX futures positions based on price fluctuations in XIV, i.e. to

    maintain its hedge, Credit Suisse adjusted its VIX futures portfolio at the end of each trading day

    based on XIV’s performance that day.

          69.     Importantly, as Credit Suisse knew, virtually all VIX-related ETP issuers engaged

    in such hedging activities and, thus, during large market movements these issuers simultaneously

    bought VIX futures to hedge their positions.




6
  The cost and availability of VIX futures during and after VIX spikes is also affected, in part, by
leveraged inverse VIX ETPs like SVXY that are required to buy VIX futures when they go up.
In either case, the result is increased demand for VIX futures.



                                                    22
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 29 of 122




         70.   On at least three occasions during the life of XIV prior to February 5, 2018, the

market experienced a spike in the VIX Index and an even larger spike in VIX futures prices due

to the hedging activities described above. Over the course of these three VIX spikes, Defendants

learned that there were simply not enough VIX futures contracts relative to the hedging demand

from Credit Suisse and other VIX-related ETP issuers. In other words, there were “liquidity”

issues in the VIX futures market during and after spikes in the VIX. These liquidity issues caused

VIX futures prices to temporarily increase even more than what would be expected based on the

size of the VIX increase, specifically during the end-of-day period when issuers bought VIX

futures to hedge their positions.

         71.   As evident from the chart below, the spikes were relatively brief and sharp:




         72.   Between August 4, 2011 and August 8, 2011, there was a three-trading day spike

in the VIX. On August 4, 2011, XIV opened at $14.83, and closed on August 8, 2011 at $10, a

decline of 32.57%, with the XIVIV—the Intraday Indicative Value—dropping 38.42% at one

point.


                                               23
Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 30 of 122
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 31 of 122




          76.       Following these liquidity issues in the VIX futures market, on July 1, 2016, Credit

    Suisse made the following announcement (“July 2016 Announcement”), which was also filed

    with the SEC:

          Credit Suisse announced today that it will place conditions on its acceptance of
          offers to purchase VelocityShares™ Daily Inverse VIX Short Term ETNs (Ticker
          Symbol: “XIV”).

          Beginning on July 5, 2016, Credit Suisse may issue additional ETNs on a weekly
          basis and may condition its acceptance of a counterparty’s offer to purchase the
          ETNs on its agreement to sell to Credit Suisse certain hedging instruments
          consistent with Credit Suisse's hedging strategy, including but not limited to swaps.
          Any such hedging instruments will be executed on the basis of the indicative value
          of the ETNs at that time, will not reflect any premium or discount in the trading
          price of the ETNs over their indicative value and will be on terms acceptable to
          Credit Suisse, including the counterparty meeting Credit Suisse’s creditworthiness
          requirements, margin requirements, minimum size and duration requirements and
          such other terms as Credit Suisse deems appropriate in its sole discretion. In
          addition, Credit Suisse may from time to time issue the ETNs into inventory of its
          affiliates.7

          77.       The July 2016 Announcement confirms that the three VIX spikes in 2011, 2015,

    and 2016, made apparent to Defendants that there were major problems related to its end-of-day

    rebalancing of its XIV hedges. Specifically, during these VIX spikes Credit Suisse saw issues

    with the cost and availability of VIX futures during its end-of-day hedging process. Pursuant to

    Credit Suisse’s risk protocols described below, these hedging issues should have been escalated

    to senior management, including the CARMC, which included the Individual Defendants, and

    should have been discussed by Credit Suisse’s risk management groups, including the CARMC.

    As discussed in detail below, the CARMC, which consisted of Credit Suisse’s most senior

    officers, including Defendants Thiam and Mathers, was responsible for actively monitoring risk



7
 https://www.prnewswire.com/news-releases/credit-suisse-places-conditions-on-its-acceptance-
of-offers-to-purchase-velocityshares-daily-inverse-vix-short-term-etns-ticker-symbol-xiv-
300293417.html; https://www.sec.gov/Archives/edgar/data/1053092/000095010316014568/dp66
967_ex9901.htm.

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   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 32 of 122




at the highest level, recommending risk limits to the Board, and allocating risk limits among the

Bank’s different lines of business, and any breach of those limits was supposed to result in

“immediate notification” to Defendant Thiam.

       78.     The CARMC should have been alerted that, during and after VIX spikes, the

availability, i.e. liquidity, of VIX futures was insufficient to hedge its growing position in XIV,

exposing Credit Suisse to substantial risk, Credit Suisse’s risk management protocols dictated

that the CARMC—and thus the Individual Defendants—would have determined Credit Suisse

needed to give itself additional avenues to hedge XIV. Thus, Credit Suisse issued the July 2016

Announcement to give itself the option to demand from XIV purchasers “certain hedging

instruments,” such as swaps, so that it could protect itself from the liquidity issues escalated to

the CARMC.

       79.     Nevertheless, Credit Suisse continued to issue new XIV Notes.

       80.     This announcement also makes clear that Defendants knew that XIV investors were

holding XIV for weeks, months, or even years. Credit Suisse did not hedge intraday purchases.

Rather, by rebalancing at the end of each trading day, Credit Suisse hedged over-night XIV

positions held by investors. This is because Credit Suisse purchased VIX futures to protect its

balance sheets from the liability of future redemptions of XIV Notes. Thus, an investor who

bought and redeemed an XIV Note during the day no longer posed any liability risk to Credit

Suisse which Credit Suisse would need to hedge. Credit Suisse’s July 2016 Announcement was

thus an implicit admission by Credit Suisse that XIV had a typical holding period of weeks,

months, or even years, and that, by and large, investors were not using XIV as a tool to manage

daily trading risk.




                                               26
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 33 of 122




          81.     This was not the first time that Credit Suisse overexposed itself with VIX-related

    products. In 2012, Credit Suisse stopped issuing shares of VelocityShares Daily 2x VIX Short-

    Term ETNs (“TVIX”) after massive demand caused TVIX values to surge and become dislocated

    from the values of the underlying VIX futures upon which TVIX was based. Though Credit

    Suisse cited “internal limits on the size of the [TVIX] ETN” as the reason for the halt, even as far

    back as 2012 at least one analyst noted that “[t]he potential issue is whether this is a symptom of

    the volatility-based exchange-traded products starting to outgrow the size of the VIX futures

    market.”8 (Emphasis added). Notably, Credit Suisse’s “internal limits” did nothing to constrain

    the massive growth of XIV in the following years, because it planned to profit from this massive

    growth.

          82.     In addition, Credit Suisse knew the VIX was statistically certain to undergo a spike

    every few years.




8
  https://www.reuters.com/article/us-market-volatility-tvix/analysis-out-of-control-volatility-etn-
triggers-risk-concerns-idUSTRE81M2AO20120223

                                                    27
Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 34 of 122




                                 28
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 35 of 122




      86.     Credit Suisse’s internal analysis jibed with third-party analysts’ read of the

likelihood of a volatility spike. After the events of February 5, 2018, analysts with the Bank for

International Settlements noted “the historical tendency of volatility increases to be rather sharp”

and that Credit Suisse was thus allowing XIV investors to effectively “collect[] pennies in front

of a steamroller.”

      87.     After February 5, 2018, Artur Sepp, a former analyst for Merrill Lynch and Bank

of America, analyzed the probability of a one-day VIX futures spike of 80% occurring, which is

the level at which an Acceleration Event occurs. Based on historical data, Sepp found that the

probability of such a spike was about 0.37% at the high range, meaning such an event is expected

to occur every year, or 0.18% at the low range, meaning such an event is expected to occur once

every other year.

      88.     In other words, as Credit Suisse knew and calculated, it was a statistical certainty

that the VIX and VIX futures would spike, and a high statistical likelihood that the spike would

happen in the very near future, and that such a spike would cause XIV to crash.

      89      As the crash risk of XIV became clear to Credit Suisse, its top priority became clear,

too: get that risk off of Credit Suisse’s books as quickly as possible, while maximizing profit and

minimizing redemption costs on the way out.




                                                29
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 36 of 122




      90.     Investors were not privy to—and Credit Suisse never told them—about the liquidity

issues Credit Suisse was experiencing in regards to hedging its XIV Notes exposure, the risks

these issues posed to Credit Suisse, why Credit Suisse made the July 2016 Announcement, how

Credit Suisse’s continued growth of XIV exacerbated the liquidity issue, and that Credit Suisse

knew a spike that would cause XIV to crash was a statistical, near-term ineveitability, which

Credit Suisse intended to exploit at their expense.

  D. Credit Suisse Knew Or Recklessly Disregarded That XIV Investors Held Their Notes
     For Long Periods, Enabling Credit Suisse To Profit

      91.     In addition to its knowledge that VIX volatility would inevitability spike and that

investors would be wiped out when it did, Credit Suisse also knew that XIV Notes were being

held by investors for long periods of time. Credit Suisse bet that such holding patterns would

allow it to avoid paying for higher redemptions by XIV investors and even profit at its investors’

expense once the next VIX spike occurred.

      92.     Specifically, Credit Suisse knew that, rather than being used as a “tool[] for

sophisticated investors to manage daily trading risks,” XIV was an extremely popular product

that was purchased and held over long periods by many individual investors, groups of investors,

family fund traders, exchange traded funds, and hedge funds. Indeed, according to Morningstar

Inc., “[j]ust one fifth of XIV’s outstanding shares are owned by funds and institutions[,]”




                                               30
Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 37 of 122
     Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 38 of 122




 market for free.”10 On the website Reddit.com, there was a “Trade XIV” group with 1,800 active

 members. Like popularly traded mutual funds built for individual investors, XIV charged a

 management fee.

       95.      XIV’s popularity was regularly discussed in the media and among investors. In an

 April 9, 2015 interview published on Seeking Alpha, Chris DeMuth, the co-manager of investment

 firm Rangeley Capital LLC, was asked, “If you had to pick a stock today and hold it for 20 years,

 what would it be?”11 He answered:

       The Daily Inverse Short-Term ETN (NASDAQ:XIV)…. It is the closest thing the
       world offers to the perfect security. It is a transfer mechanism between anyone who
       thinks of risk as volatility and those of us who think of risk as the risk of overpaying.
       The price-insensitive preference to avoid volatility is a real, durable, expensive
       preference that is so different than how I think about risk that owning XIV would
       be a natural thing for me to do for 20 years. It has been a long idea of mine since
       it was first launched, and I still own it today.

       96.      On August 28, 2017, The New York Times described VIX-related products like XIV

 as “frequently among the most widely traded stocks of the day.”12

       97.      Moreover, as explained above, Credit Suisse incentivized Janus to sell as many XIV

 Notes as possible, since Janus’s fees and profits from XIV were tied to the number of XIV Notes

 outstanding.

       98.      Credit Suisse received 100% of the proceeds for issuing the XIV Notes (less any

 fee). Because Defendants knew it was a statistical certainty that the VIX would spike at some

 point, and because Defendants knew end-of-day hedging activities could cause VIX futures to



10
   https://www.robinhood.com/?utm_source=google&utm_campaign=1347055090&utm_content
=59789658611&utm_term=263208028936__%2Brobinhood&gclid=EAIaIQobChMIuOTerrfR3
AIVSZyzCh36oQ-EEAAYASAAEgJS2PD_BwE
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the-world
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                                                  32
Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 39 of 122
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 40 of 122




      101.    As alleged in paragraphs 82-85 above, Credit Suisse’s understanding of XIV’s

crash risk pervaded the highest echelons at the Bank. Similarly, Credit Suisse knew that the

shortage in liquidity of VIX futures would directly impede its ability to hedge its own position in

XIV Notes.




      -
      102     Further, the July 2016 Announcement—which was made specifically to protect

Credit Suisse from the effects of VIX futures liquidity issues—was required to be approved by

the CARMC, and thus Defendants Thiam and Mathers, as it represented a material change to

Credit Suisse’s risk exposure.




                                               34
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 41 of 122




         103.   On March 24, 2017, Credit Suisse filed its 2016 Annual Report with the SEC on

 Form 20-F (the “2016 Annual Report” or the “Report”), which explained in detail the Bank’s

 extensive risk protocols and reporting mechanisms. The Report proclaimed that “the prudent

 taking of risk in line with our strategic priorities” was “fundamental” to Credit Suisse’s business

 as a leading global bank and “ensuring that capital is well deployed to support business activities.”

 In describing the Bank’s “disciplined” risk culture, the Report stated:

         We base our business operations on conscious and disciplined risk-taking . . . We
         establish a clear risk appetite that sets out the types and levels of risk we are prepared to
         take; We actively monitor risks and take mitigating actions where they fall outside
         accepted levels; Breaches of risk limits are identified, analyzed, and escalated, and large,
         repeated or unauthorized exceptions may lead to terminations, adverse adjustments to
         compensation or other disciplinary action.

         104.   The Report emphasized that, to ensure the effectiveness of the Bank’s risk controls,

 there was “strong involvement of senior management and the Board of Directors” in the Bank’s

 risk management procedures. Indeed, the Report stated the Bank had established a sub-committee

 of its Executive Board, CARMC, consisting wholly of the Bank’s most senior officers. CARMC

 met regularly on a monthly basis and included “the chief executive officers (CEOs) of the

 Group[13] and the divisions, the Chief Financial Officer, the Chief Risk Officer (CRO) and the

 Treasurer.” Thus, Defendants Thiam and Mathers were on the CARMC.

         105.   Further, the Report stated that CARMC also played a central role in the Bank’s risk

 management procedures, as it was responsible for actively monitoring risk at the highest level,

 recommending overall risk limits for the Bank to the Board, and setting and allocating risk limits

 among the Bank’s different lines of business:

         [CARMC] is responsible for supervising and directing our risk profile, recommending
         risk limits at the Group level to the Risk Committee and the Board, establishing and



13
     The 2016 Annual Report defines “the Group” to mean Defendant Credit Suisse Group AG.

                                                  35
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 42 of 122




      allocating risk limits among the various businesses, and for developing measures,
      methodologies and tools to monitor and manage the risk portfolio.

(Emphasis added).

      106.    The 2016 Annual Report explained that risk limits were critical to the Bank’s risk

management procedures, as they were designed “to maintain our risk profile within our overall

risk appetite.” The Report explained that “[l]imits are binding thresholds that require discussion

to avoid a breach and trigger immediate remediating action if a breach occurs.” (Emphasis

added). The Report also stated that “[w]hile the primary purpose [of risk limits] is risk

management, risk limits are also useful tools in the identification of trading misconduct and

unauthorized trading activities.” (Emphasis added).

      107.    The Report stated the Bank had several levels of risk limits within its extensive risk

management framework, the breach of any one of which would trigger immediate escalation

procedures to notify senior management. Specifically, the Report stated the “overall risk limits”

for the Bank were “set by the Board in consultation with the Risk Committee and are binding,”

(emphasis added), and that any breach of these limits “would result in an immediate notification

to the chairman of the Board’s Risk Committee and the Group CEO, and written notification to

the full Board at its next meeting”:

      The overall risk limits for the Group are set by the Board in consultation with its Risk
      Committee and are binding. In the rare circumstances where a breach of these limits
      would occur, it would result in an immediate notification to the Chairman of the Board’s
      Risk Committee and the Group CEO, and written notification to the full Board at its next
      meeting. Following notification, the Group CRO may approve positions that exceed the
      Board limits up to a predefined level and any such approval is reported to the full Board.
      Positions that exceed the Board limits by more than the predefined level may only be
      approved by the Group CRO and the full Board acting jointly. In 2016 and 2015, no
      Board limits were exceeded.

(Emphasis added).




                                               36
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 43 of 122




      108.    Thus, Thiam, as CEO, was supposed to receive “immediate notification” of any and

all breaches of risk limits, including those relating to XIV.

      109.    The next level of risk limits was set by CARMC “[i]n the context of the overall risk

appetite of the Group, as defined by the limits set by the Board and its Risk Committee.”

Specifically, CARMC was “responsible for allocating divisional risk limits and more specific

limits deemed necessary to control the concentration of risk within individual lines of business.”

The Report emphasized that CARMC’s “limits are binding and generally set close to the planned

risk profile to ensure that any meaningful increase in risk exposures is promptly escalated.”

(Emphasis added).

      110.    The final level of limits was set by divisional management, who would “use[] a

detailed framework of individual risk limits designed to control risk-taking at a granular level by

individual businesses and in the aggregate.” These risk controls were intended to, among other

things, “trigger senior management discussions with the businesses involved, risk management

and governance committees in case of change in the overall risk profile.” (Emphasis added).

While “divisional chief risk officers and certain other members of senior management” had

authority to “temporarily increase” these more granular limits “by an approved percentage not for

a specified maximum period,” significantly, any excess was “subject to formal escalation

procedures and must be remediated or expressly approved by senior management.” Moreover,

even in this circumstance, senior management was required to continuously monitor and renew

its approval of any excesses that were not remediated within ten days:

      Senior management approval is valid for a standard period of ten days (or fewer than ten
      days for certain limit types) and approval has to be renewed for additional standard
      periods if an excess is not remediated within the initial standard period.




                                                37
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 44 of 122




      111.    Credit Suisse also has a Valuation Risk Management Committee (“VARMC”),

which is chaired by its CFO, Defendant Mathers, which “is responsible for establishing policies

regarding the valuation of certain material assets and the policies and calculation methodologies

applied in the valuation process.” The VARMC determined the VaR regimen—discussed further

below—and data sources for analyzing both the asset class net numbers and the numbers for a

product like XIV.

      112.    The 2016 Annual Report also describes another committee, the Risk Processes &

Standards Committee (“RPSC”), which “reviews major risk management processes, issues

general instructions, standards and processes concerning risk management, approves material

changes in market, credit and operational risk management standards, policies and related

methodologies, and approves the standards of [the Bank’s] internal models used for calculating

regulatory capital requirements.” The RPSC would have reviewed the flags and alarms like those

created by one of the prior XIV rebalancing liquidity issues described above.

      113.    Finally, the Report describes the Reputational Risk & Sustainability Committee

(“RRSC”), which “sets policies and reviews processes and significant cases relating to

reputational risks and sustainability issues.    It also ensures compliance with [the Bank’s]

reputational and sustainability policies and oversees their implementation.” In other words, the

RRSC is supposed to prevent bad publicity like news reports that Credit Suisse would take profits

from exercising the XIV Acceleration Option to the detriment of investors.

      114.    As described in the 2016 Annual Report, a metric known as Value-at-Risk (“VaR”)

was “one of the main risk measures for [risk] limit monitoring.” VaR:

      quantifies the potential loss on a given portfolio of financial instruments over a certain
      holding period and that is expected to occur at a certain confidence level.” Specifically,
      Credit Suisse’s VaR model uses a “two-year historical dataset, a one-day holding period
      and a 98% confidence level. This means that we would expect daily mark-to-market



                                                38
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 45 of 122




      trading losses to exceed the reported VaR not more than twice in 100 trading days over a
      multi-year observation period. . . . Our VaR used for limit monitoring purposes also uses
      a two-year historical dataset, a one-day holding period and a 98% confidence level.

      115.    Credit Suisse also “estimate[d] losses associated with unusually severe market

movements,” “including stressed VaR, position risk and scenario analysis.” (Emphasis added).

      116.    On March 23, 2018, Credit Suisse filed its 2017 Annual Report with the SEC on

Form 20-F (“2017 Annual Report”). The 2017 Annual Report stated that the average VaR for

Credit Suisse’s entire equities asset class throughout the previous year was $10 million, with a

maximum VaR of $13 million for the asset class.

      117.    Mathers also served on the UK MRC, a subsidiary to the CARMC. According to

Mathers, this group was “similar to the [CARMC], ” except it focused specifically on the risk

limits that related to U.K. subsidiaries of Credit Suisse. Given his role on the UK MRC, Mathers

would have attended the UK MRC meetings when results XIV risk analysis were presented.

      118.    Even dividing XIV’s approximate $1.8 billion loss by 100 still shows a loss larger

than the VaR for Credit Suisse’s entire equities asset class.

      119.    Credit Suisse allowed the risk controls and risk levels to be breached because they

calculated that Credit Suisse could make money at its investors’ expense. Credit Suisse knew the

structure of XIV meant that the Bank was paid by investors to bet on volatility returning. Credit

Suisse knew that once volatility spiked—as it knew was a certainty—Credit Suisse would squeeze

the end-of-day rebalancing market, cover itself, and then exercise the Acceleration Option only

after it had driven XIV into the ground, paying investors pennies on the dollar while pocketing

tens or hundreds of millions in profit.

      120.    Investors relied on Credit Suisse’s statements regarding their internal risk limits.

  F. Individual Defendants Thiam and Mathers were Reckless as to the Misstatements and
     Omissions in the Offering Documents



                                                39
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 46 of 122




      121.    Defendants former CEO Tidjane Thiam and former CFO David Mathers regularly

engaged in a reckless manner with respect to XIV, not least because of their shocking failure to

conduct any oversight whatsoever with respect to the product, including failing to even review

the regulatory filings that they themselves signed.

      122.    By signing the Registration Statement the Individual Defendants subjected

themselves to potential liability for materially false and/or misleading statements in the Offering

Documents under 1933 Act and the 1934 Act.

      123.    As signers of the Registration Statement on behalf of Credit Suisse, Defendants

Thiam and Mathers certified that Credit Suisse met the obligations of using a Form F-3 stating

that “[p]ursuant to the requirements of the Securities Act of 1933, the undersigned registrant

certifies that it has reasonable grounds to believe that it meets all of the requirements for filing on

Form F-3 and has duly caused this registration statement to be signed on its behalf by the

undersigned, thereunto duly authorized . . . .”.

      124.    Regulation S-K Item 105 (17 CFR § 229.105) creates an affirmative duty to

disclose “discussion of the material factors that make an investment in the registrant or offering

speculative or risky” and requires an explanation “how each risk affects the registrant or the

securities being offered.”

      125.    Defendants Thiam and Mathers failed to discharge their duties pertaining to the

Registration Statement and Item 105 due to the materially false and/or misleading statements and

omissions in the January Supplement.

      126.    Defendants Thiam and Mathers signed the Registration Statement and allowed the

issuance of the January Supplement without even reviewing the documents prior to signing them

and/or their filing with the SEC by Credit Suisse.




                                                   40
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 47 of 122




                                                                           Defendants Thiam

and Mathers actions and inactions were highly unreasonable and extreme departures from the

standard of ordinary care of a public company’s executives, as well as the requirements of the

1933 and 1934 Acts.

      127.




      128.




      129.




                                             41
Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 48 of 122
Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 49 of 122
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 50 of 122




  G. Credit Suisse Relieved Itself of Nearly All XIV-Related Risk and Maximized Its Profit
     by Lending Millions of XIV Notes in Secret

       140.   As alleged in paragraphs 82-85 above, by October 19, 2017, Credit Suisse knew

that                                                                   Realizing the grave threat

this posed to Credit Suisse’s own financials, Credit Suisse hatched a plan to eradicate its own

exposure to the ticking time-bomb that was XIV, while maximizing its own profit on the way out.

       141.




                              . This process would be beneficial to Credit Suisse’s bottom line

in multiple ways: first, by buying back XIV Notes, Credit Suisse would spare itself the risk of

having to purchase costly, illiquid VIX Futures to balance its obligation to pay XIV investors if

they redeemed their Notes. But, if XIV sat in Credit Suisse’s inventory, it would hold all of the

downside when a VIX spike—and an XIV implosion—inevitably occurred. Thus, second, by

immediately lending those Notes back out to short-sellers of XIV, Credit Suisse absolved itself



                                              44
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 51 of 122




of any of the risk of holding XIV Notes. Indeed, as Credit Suisse had known for at least a month,

lending XIV Notes was the most profitable state for the Bank, as it was able to generate revenue

from daily management fees without itself being exposed to any XIV- or VIX Futures-related

risk.




        142.




        143.




                                              45
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 52 of 122




      144.   What ensued was a ferocious effort by Credit Suisse to buy back and immediately

lend out as much XIV as possible.




      145.   One lever by which Credit Suisse was able to steer investors towards borrowing

XIV Notes rather than creating and owning them was by raising its “creation fee,” which would

make borrowing Notes more economically attractive for investors.




      146.




                                            46
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 53 of 122




                                                                     In other words, Credit Suisse

had found a way to rid itself of nearly any risk with respect to a Note it knew would eventually

implode, all while generating profit in the form of monthly management fees.

      147.    Credit Suisse’s lending of XIV Notes was understood widely throughout the Bank.




      148.




      149.    In other words, by buying back XIV Notes, and then turning around and lending

them to the market, Credit Suisse eliminated nearly all of its own exposure of XIV, profited in

the form of monthly management fees through lending, and pumped the market full of XIV short-

sellers who would financially benefit if the price of XIV crashed.

      150.




                                               47
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 54 of 122




                                         In other words, Credit Suisse—including its Flow Desk

traders—had direct insight into who XIV’s borrowers (i.e. short-sellers) were, and what their

incentives were.

         151.   By January 2018, Credit Suisse’s plan was set: Credit Suisse had largely alleviated

itself of any direct risk regarding XIV Notes, volatility was due to spike any day, and when it did,

the market that Credit Suisse had intentionally pumped full of short-sellers by supercharging its

lending program would see to it that XIV was pushed to the point of collapse.

         152.   All that was left for Credit Suisse to do was maximize any revenue that it could

before XIV crashed out of existence. To accomplish this, Credit Suisse turned back to “creations

via swap,” a form of XIV Note issuance that, while less profitable than lending XIV Notes, still

generated profit for the Bank so long as the swaps, which transferred XIV-related risk to the swap

counterparties, had not yet expired. These swaps further destabilized XIV, because Credit

Suisse’s swap counterparties had to offset their risk by buying VIX futures—the exact same

expensive trade in an illiquid market that Credit Suisse itself was trying to avoid having to do.

To incentivize more XIV creations via swap, Credit Suisse undid what it had done just months

prior:



         153.   In addition, and indicative of Credit Suisse’s awareness that the implosion of XIV

was imminent, Credit Suisse extended the term (or length) of its swaps from three months to six

months, thereby further shielding itself from any exposure to the XIV Notes.




                                                48
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 55 of 122




      154     The result, predictably, was an enormous issuance of XIV Notes in a very small

amount of time, which significantly increased the already dangerously unstable differential

between small amount of VIX futures and high amount of Volatilty Securities in the market: on

January 31, 2018, Credit Suisse issued 4.2 million additional shares of XIV, each of which

brought in a creation fee for Credit Suisse, and each of which, predictably, would need to be offset

by the swap counterparties with VIX futures hedges, thereby further exacerbating the imbalance

that would cause an XIV collapse at the next volatility spike. That is, whereas when Credit Suisse

issued XIV Notes without swaps, Credit Suisse was left holding the risk, under swap creations,

Credit Suisse outsourced that risk to the swap counterparties.




  H. AFTER AN EXTENDED PERIOD OF LOW VOLATILITY, CREDIT SUISSE
     ISSUED MILLIONS MORE XIV NOTES ON JANUARY 29, 2018, MAKING
     MORE MONEY WHILE PLANNING TO PROFIT FROM AN IMMINENT VIX
     SPIKE


      -
      155     Despite knowing that there were significant liquidity issues in end-of-day hedging–

and that the market was now saturated with investors, including Credit Suisse, incentivized to see

XIV crash out of existence—and that it would be impossible for Volatility Securities issuers to

handle even a moderate volatility spike, the Credit Suisse Defendants continued to issue more

XIV Notes, exacerbating their hedging problem and the global imbalance between VIX futures

and Volatility Securities and contributing to XIV’s ultimate destruction. Indeed, Credit Suisse



                                                49
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 56 of 122




continued to expand XIV by selling large amounts of XIV Notes right up through January 29,

2018, when Credit Suisse offered an additional 16,275,000 XIV Notes, knowing the expansion

of XIV would further exacerbate future liquidity issues, and that it was a near certainty that

hedging activities, including Credit Suisse’s own, after even a modest VIX spike would destroy

XIV.




       156.   By February 2018, XIV was valued at approximately $1.9 billion.

       157.   By this time, it had been over 1.5 years since the last major VIX spike, and Credit

Suisse knew it was a statistical certainty another spike would occur at some point and a high

statistical probability it would happen shortly.

       158.   Credit Suisse wanted to continue to grow XIV because investors—who Credit

Suisse knew by and large were holding XIV for long periods—paid Credit Suisse upwards of

$135 per Note, allowing Credit Suisse to accrue billions and millions in recurring management

and lending fees. As explained above, Credit Suisse also knew that it was a statistical certainty




                                                   50
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 57 of 122




that the VIX would spike sharply at some point, resulting in a liquidity squeeze in the VIX futures

market during the end-of-day rebalancing period, to which Credit Suisse would contribute, and

the inevitable collapse of XIV. This collapse would allow Credit Suisse to pay back XIV Note

holders only pennies on the dollar while it pocketed the difference.

       159.   Indeed, because Credit Suisse had grown XIV so much larger than the VIX futures

upon which XIV’s value was based, Credit Suisse knew it and the enormous number of short-

sellers it had enabled by lending out XIV Notes, could easily, and relatively cheaply, buy VIX

futures to cause XIV to collapse.

       160.   Thus, after packing the market full of short-sellers it knew would collapse the Note

at the first volatility spike, Credit Suisse took the opportunity for one last major revenue infusion

by selling XIV to investors knowing it was selling them a ticking time bomb with a short fuse—

and without clueing them in on what was to come. Investors continued buying XIV as they saw

large returns during an extended period of low volatility. Meanwhile, Credit Suisse knew that (1)

investors were holding XIV Notes for extended periods, (2) a VIX spike was inevitable and likely

imminent, (3) based on previous VIX futures liquidity issues, Credit Suisse could cheaply and

easily contribute to a spike in VIX futures when the VIX spike happened, (4) it had filled the

market with short-sellers who were incentivized to crash the Note at the next VIX spike, and (5)

it could announce an Acceleration Event allowing it to pay XIV investors pennies on the dollar

while protecting itself from a public relations disaster by blaming the Acceleration Event on

volatility.

   I. Defendant Thiam’s Restructuring Plan Provided Additional Incentive For Credit
      Suisse To Destroy XIV

       161.   The prospect of massive profits was not the only incentive for Credit Suisse to bet

against its investors and cause XIV to collapse. The Bank was in the midst of a major three-year



                                                51
Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 58 of 122
     Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 59 of 122




       165.    A Morningstar report, however, commented that Credit Suisse’s cuts to the

 investment bank were less than hoped, which was discouraging in light of the investment bank’s

 poor third quarter performance:

       We’re disappointed that new CEO Tidjane Thiam is maintaining Credit Suisse’s
       commitment to having a strong investment bank, as we’d thought UBS-style radical
       cuts were possible. The revised strategy, which will significantly cut macro
       businesses . . . will cut only about 20% of the investment bank’s risk-weighted
       assets . . . Credit Suisse’s performance in the third quarter was disappointing . . .
       Very bad performance from the investment bank was behind most of the drop—
       strategic pre-tax income in the unit fell to CHF 282 million from CHF 995 million
       in the year-ago quarter, as fixed income trading revenue declined significantly.

Mathers Dep. Ex. 114.

       166.    A November 21, 2015 Financial Times article also highlighted analysts’ criticisms

 of Thiam’s shrinkage of the investment bank by only 20%, stating “[i]t was a far cry from the

 speculation immediately after Tidjane Thiam’s appointment in March as chief executive, when

 the bank’s shares surged 8 percent on hopes of a big push into Asia, a big wealth management

 acquisition and drastic cuts to investment banking.” Mathers Dep. Ex. 113.

       167.    In the following years, as part of the restructuring, Credit Suisse cut thousands of

 jobs, sold off risky legacy assets, and raised more than 10 billion Swiss francs ($10.2 billion)

 from shareholders.

       168.    Pressure on the Bank continued, however, resulting in an October 2017 campaign

 by activist investor RBR Capital Advisors to break up Credit Suisse.14 On November 28, 2017,

 Defendant Thiam, speaking regarding his restructuring plan to reduce reliance on volatile trading

 in favor of wealth management, stated: “The shareholders have been through a lot. I’m painfully

 aware that I had to dilute my shareholders very significantly[. . . .] As we generate more profit



14
  https://www.reuters.com/article/us-credit-suisse-gp-rbr-capital-advisors/activist-investor-rbr-
launching-campaign-to-break-up-credit-suisse-ft-idUSKBN1CL31E

                                                53
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 60 of 122




and the bank does better,” he said, “the goal of all this is to return capital to shareholders.” He

further stated that, to return capital to shareholders, “[e]verything is on the table[.]”

       169.    Thus, in addition to their motive to capitalize on volatility spikes at investors’

expense, Credit Suisse faced intense pressure to profitably close XIV from two fronts: (1)

pressure from Thiam and investors to drastically scale back Credit Suisse’s investment bank; and

(2) pressure to generate profit as soon as possible to quell brewing investor revolts.

   J. XIV’s “Calculation Agents”

       170.    Credit Suisse relied on two different entities to provide calculation-related services

and make certain determinations for XIV: CSI and JIC.

       171.    CSI is an affiliate and major subsidiary of and controlled by Credit Suisse.

       172.    CSI was defined by Credit Suisse in the January Supplement as one of the two

“Calculation Agents.”

       173.    As a Calculation Agents, CSI had significant control, responsibilities, and rights

concerning XIV.

       174.    The January Supplement summarizes the “Role of Calculation Agents” as to the

XIV as:

       The Calculation Agents will, in their reasonable discretion, make all calculations
       and determinations regarding the value of the ETNs, including at maturity or upon
       redemption by Credit Suisse, Market Disruption Events (see “— Market Disruption
       Events”), Business Days and Index Business Days, the Daily Investor Fee amount,
       the Daily Accrual, the closing level of the applicable underlying Index on any Index
       Business Day, the Maturity Date, any Early Redemption Dates, the Acceleration
       Date, the amount payable in respect of your ETNs at maturity, upon redemption or
       upon acceleration by Credit Suisse and any other calculations or determinations to
       be made by the Calculation Agents as specified herein. CSI will have the sole ability
       to make determinations with respect to reduction of the Minimum Redemption
       Amount, certain Acceleration Events, and calculation of default amounts. JIC will
       have the sole ability to calculate and disseminate the Closing Indicative Value,
       make determinations regarding an Index Business Day, and determinations of splits
       and reverse splits. All other determinations will be made by the Calculation
       Agents jointly. Absent manifest error, all determinations of the Calculation


                                                 54
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 61 of 122




      Agents will be final and binding on you and us, without any liability on the part
      of the Calculation Agents. You will not be entitled to any compensation from us
      for any loss suffered as a result of any of the above determinations by the
      Calculation Agents.

(Emphasis added).

      175.    Per the January Supplement, JIC had the responsibility to calculate and disseminate

the Closing Indicative Value, determine what constituted an “Index Business Day,” and make

determinations of splits and reverse splits. The January Supplement states that “[a]ll other

determinations will be made by the Calculation Agents jointly.”

      176.    The Calculation Agents together possessed significant power and control over the

XIV Notes that could be exercised at their sole discretion. This control and power covered almost

all aspects of the XIV Notes and their existence.

      177.    As described in the January Supplement, these powers included, among other

material duties and determinations, crucial matters such as: (i) determinations concerning the

calculation of various values related to the XIV Notes, (ii) determinations concerning the

underlying inputs that impacted the calculations of these values; (iii) the ability to cause an

acceleration event to redeem the XIV Notes earlier than their stated maturity date, and (iv)

designating when a Market Disruption Event occurred.

      178.    First, the Calculation Agents were responsible for calculating and issuing the

Intraday Indicative Values and Closing Indicative Values, detailed below. These values were not

only crucial to the structure and pricing of XIV, but were also heavily relied upon by investors in

making decisions concerning their investments in XIV.

      179.    Second, the Calculation Agents could alter the very index upon which the Intraday

Indicative Value and the Closing Indicative Value were based.          As stated in the January

Supplement, “[t]he Calculation Agents, may modify, replace or adjust the Indices under certain



                                               55
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 62 of 122




circumstances even if the Index Sponsor continues to publish the applicable Index without

modification, replacement or adjustment.”

       180.    Third, the Calculation Agents were given the right and power to cause an

Acceleration Event at their discretion that could beneficially impact Credit Suisse. Notably, the

January Supplement defined an Acceleration Event as, among other things:

       any event, as determined by us or the Calculation Agents that we or any of our affiliates
       or a similarly situated party would, after using commercially reasonable efforts, be unable
       to, or would incur a materially increased amount of tax, duty, expense or fee (other than
       brokerage commissions) to acquire, establish, re-establish, substitute, maintain, unwind
       or dispose of any transaction or asset it deems necessary to hedge the risk of the ETNs, or
       realize, recover or remit the proceeds of any such transaction or asset.

(Emphasis added). The January Supplement also defined an Acceleration Event as having

occurred “if, at any point, the Intraday Indicative Value is equal to or less than twenty percent

(20%) of the prior day’s Closing Indicative Value.” (Emphasis added). Notably, the January

Supplement also provided that Credit Suisse could, at any time, exercise its unconditional right to

an “Optional Acceleration” of all XIV Notes.

       181.    Fourth, the Calculation Agents had the power to determine when a Market

Disruption Event occurred. The impact of such a determination is, in relevant part, discussed in

the following section.

   K. XIV’s Closing Indicative Value and Intraday Indicative Value

       182.    Materially important to XIV’s investors was the calculation and publication of

XIV’s Intraday Indicative Value and Closing Indicative Value by the Calculation Agents.

       183.    Each of these values was derived from a pre-defined formula utilizing the values of

the SPVXSP, the underlying index explained above which tracks a portfolio of first and second-

month VIX futures contracts.




                                                56
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 63 of 122




      184.    The January Supplement stated the following concerning the value of each “Index,”

including SPVXSP:

      The value of each Index will be published by Bloomberg in real time and after the close
      of trading on each Index Business Day . . . The intraday level of each of the Indices is
      calculated in real time by S&P on each S&P 500 VIX Futures Business Day . . . applying
      real time prices of the relevant VIX futures contracts.

(Emphasis added).

      185.    The Closing Indicative Value serves as the basis of the value of XIV in the event

of an early redemption, an acceleration, or upon maturity. In essence, the Closing Indicative

Value equates to Credit Suisse’s liability for each XIV Note, as the Closing Indicative Value is

used to calculate the amount due to an investor under each of these events. These events were

also the only way Credit Suisse would close out its financial obligations to holders of XIV Notes.

Otherwise, as stated by Credit Suisse in the January Supplement, “[a]s long as an active secondary

market in the ETNs exists, we expect that investors will purchase and sell the ETNs primarily in

this secondary market.”

      186.    Given that the Closing Indicative Value was only published at the end of an Index

Business Day, the Intraday Indicative Value provided to the market the value of XIV (as it related

to the value investors would receive from Credit Suisse as a result of a redemption or an

acceleration of the XIV ETNs, subject to any fees associated with such event) every fifteen

seconds during an Index Business Day.

      187.    The Intraday Indicative Value is designed to provide the “economic value” of XIV

at a given point in time, and was to be calculated and disseminated to the market every fifteen

seconds.

      188.    In relevant part, the January Supplement states that:




                                               57
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 64 of 122




       The “Intraday Indicative Value” for each series of ETNs is designed to approximate the
       economic value of such series of ETNs at a given time. It is calculated using the same
       formula as the Closing Indicative Value, except that instead of using the closing level of
       the applicable underlying Index, the calculation is based on the most recent intraday level
       of such Index at the particular time. The Intraday Indicative Value of the ETNs will be
       calculated every 15 seconds on each Index Business Day during the period when a
       Market Disruption Event has not occurred or is not continuing and disseminated over the
       Consolidated Tape, or other major market data vendor.

(Emphasis added).

       189.    Per the Prospectus, the Intraday Indicative Value is calculated “using the same

formula as the Closing Indicative Value, except that instead of using the closing level of the

applicable underlying Index, the calculation is based on the most recent intraday level of such

Index at the particular time.”

       190.    Credit Suisse knew that the Intraday Indicative Value was material to, and relied

on, by investors. It stated in the January Supplement, for example, the following:

       Investors can compare the trading price of the ETNs (if such concurrent price is
       available) against the Intraday Indicative Value to determine whether the ETNs are
       trading in the secondary market at a premium or a discount to the economic value of the
       ETNs at any given time.

(Emphasis in original).

       191.    The Intraday Indicative Value (“IIV”) was published under its own Bloomberg

ticker, XIVIV. NASDAQ was the official disseminator of the XIVIV. According to Reuters

data, NASDAQ disseminated the XIVIV to investors on a second-by-second basis to facilitate

investors’ access to this critical information.

       192.    Throughout the fall and winter of 2017 and 2018, Credit Suisse employees had

access to both the market price and the IIV of XIV.




                                                  58
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 65 of 122




                         .

      193.    Although the January Supplement notes that “[t]he actual trading price of the ETNs

of any series may be different from their Intraday Indicative Value” and that “[t]he actual trading

price of the ETNs in the secondary market may vary significantly from their Intraday Indicative

Value,” (emphasis omitted), the XIVIV closely matched the actual market trading prices in the

market.

      194.    As detailed in the following chart, on January 3, 2017, a representative normal

trading day, the XIVIV closely followed XIV’s market price, “approximat[ing] the economic

value” of XIV in real time as promised by the prospectus supplement:




                                               59
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 66 of 122




      195.    The January Supplement also discussed what would occur if certain market events

affected the Closing and Intraday Indicative Values, who would be responsible for determining

if these events occurred, and how these events would affect XIV and XIV investors.

      196.    Defendants defined such events as a “Market Disruption Event.” Specifically, the

January Supplement defines a Market Disruption Event as follows:

      A “Market Disruption Event” will be any event that, in the determination of the
      Calculation Agents, could materially interfere with our, our affiliates, third parties
      with whom we transact, or similarly situated third party’s ability to establish,
      maintain or unwind all or a material portion of a hedge that could be effected with
      respect to the ETNs, including, but not limited to:

           a suspension, absence or material limitation of trading in option or futures
          contracts relating to the Index, the VIX Index, the S&P 500® Index, the
          component securities of the S&P 500® Index, or to the underlying futures, if
          available, on their respective Primary Exchange or Related Exchange, as
          determined by the Calculation Agents,

           option or futures contracts relating to the Index, the VIX Index, the S&P
          500® Index, the component securities of the S&P 500® Index, or the
          underlying futures, if available, not trading on their respective Primary
          Exchange or Related Exchange, as determined by the Calculation Agents,

           the Index Sponsor or the CBOE fails to publish or compute the Indices or
          VIX Index, or

           any trading restriction imposed upon, option or futures contracts relating to
          the Index, the VIX Index, the S&P 500® Index, the component securities of the
          S&P 500® Index, or to the underlying futures, if available, on their respective
          Primary Exchange or Related Exchange due to a price change in that respective
          instrument exceeding limits set by that market before the close of trading in that
          market on any day, as determined by the Calculation Agents.

      197.    Importantly, this definition defines an “absence or material limitation of trading”

in option or futures contracts relating to the underlying indices, the components of the indices, or

to the underlying futures by reason of “a price change exceeding limits set by that market,” “an

imbalance of orders relating to that stock, instrument or those contracts,” or “a disparity in bid

and ask quotes relating to that stock, instrument or those contracts.”


                                                60
        Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 67 of 122




          198.   In the event that a Market Disruption Event occurred, the Calculation Agents were

 to “determine the Daily Index Performance on such Index Business Day based on their assessment

 of the level of the applicable underlying Index that would have prevailed on such Index Business

 Day were it not for such Market Disruption Event.” (Emphasis added).

    L. Credit Suisse’s Manipulative Scheme Succeeds and Steamrolls Over XIV Investors

          199.   On Monday, February 5, 2018, Credit Suisse seized the opportunity presented and

 executed its long-awaited plan to close out XIV while pocketing millions at the expense of its

 investors.

          200.   The market had experienced a 1.5-year period of notably low volatility, with stocks

 rising and the XIV’s value skyrocketing.

          201.   The previous trading day, Friday, February 2, 2018, XIV closed its regular trading

 session at 4:00 p.m. EST at a price of $108.3681 per Note.

          202.   The next trading session on February 5, 2018, XIV opened at $104.27 per Note.

          203.   On this day, the stock market pulled back, with the S&P 500 dropping 4.1% “amid

 concerns about rising bond yields and higher inflation,” reinforced by the January 2018 U.S. jobs

 report “that prompted worries the Federal Reserve w[ould] raise rates at a faster pace than

 expected” in 2018.15

          204.   As the stock market dropped, the VIX index spiked. The SPVXSP, which tracked

 the return on first and second-month VIX futures contracts, also rose sharply. The first- and

 second-month VIX futures contracts at the time were the February 2018 and March 2018

 contracts.



15 15
     Lewis Krauskopf, Wall Street plunges, S&P 500 erases 2018’s gains, Reuters (February 5,
2018, 7:50 AM), https://www.reuters.com/article/us-usa-stocks/wall-street-plunges-sp-500-
erases-2018s-gains-idUSKBN1FP1OR

                                                 61
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 68 of 122




      205.    XIV’s Intraday Indicative Value, the XIVIV, which inversely tracked the SPVXSP,

dropped precipitously during the day. At the close of regular market trading at 4:00 p.m., XIVIV

was at $72.59.

      206.    Knowing of the previous liquidity issues and that other participants in the VIX-

related ETP market would be seeking to hedge their positions by buying VIX futures, Credit

Suisse executed its plan to rid itself of XIV while making hundreds of millions of dollars at

investors’ expense and blaming the collapse on market forces. Credit Suisse bought up thousands

of February and March VIX futures contracts, reducing their supply, and as a result driving up

the price of the contracts. In addition, Credit Suisse filled the XIV market with short-sellers, by

lowering its lending prices for XIV Notes to those wanting to short XIV, thereby deliberately and

expressly incentivizing investors to borrow Notes. Those short-sellers then either purchased VIX

futures in the illiquid VIX futures market to offset their short positions, or held their short

positions outright, and thus were still incentivized to trade in VIX futures during a volatility spike,

in order to tank the price of XIV Notes and maximize their returns on their shorts. Between 4:00

p.m. and 4:15 p.m., February VIX futures prices went from $23.10 to $33.20, and March VIX

futures prices went from $18.90 to $27.95, a spike of 43.72% and 47.88% respectively.

      207.    Credit Suisse had predictably set this outcome up, through its combination of

supplying short-sellers of XIV with borrowed Notes and requiring swap counterparties to offset

their risk through the purchase of VIX futures, all while knowing of the severe liquidity shortages

in the VIX futures market. In short, Credit Suisse had soaked the XIV market in gasoline

throughout the fall of 2017 and early 2018, and all that was needed was a volatility spike to

provide a spark.




                                                 62
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 69 of 122




      208.    On February 2, 2018, XIV had 14,993,880 Notes issued and outstanding at a closing

indicative value of $108.3681 per Note. A fully hedged portfolio had a short exposure to VIX

futures contracts of $1.6 billion, taking into account Credit Suisse’s two other short-term VIX

ETNs. To have fully hedged its risk on February 5, Credit Suisse needed to buy thousands of

VIX futures contracts by 4:15 p.m., when the daily VIX futures’ settlement values are calculated

by the CBOE.

      209.    And, indeed, transaction data show a spike in trading volume in February and

March VIX futures contracts to 167,377 VIX futures contracts, or roughly one third of the entire

February and March VIX futures market, just before 4:15 p.m. on February 5. From August 2012

through August 2018, the average minute-by-minute trading volume for these futures contracts

was approximately 1,000. This was also the average volume on February 2. Thus, the trading

volume in the February and March VIX futures contracts during aftermarket trading on

February 5 was more than 167 times the usual volume of trades. The following chart shows

the drastically increased volume and prices in VIX futures trading:




                                              63
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 70 of 122




      210.    By driving up the price of the VIX futures contracts to which the value of XIV was

inversely tied, Credit Suisse knew it could close out XIV by announcing an Acceleration Event

while blaming the collapse on market volatility. Remaining holders of XIV Notes, who had paid

Credit Suisse as much as $135 per Note during the Class Period, would receive pennies on the

dollar while Credit Suisse reaped hundreds of millions in profit and avoided the substantial cost

of paying out higher redemptions to XIV investors.

      211.    By 4:09 p.m., Credit Suisse’s strategy was going as planned. By this time, Credit

Suisse specifically knew that, due to its large purchases of February and March VIX futures

contracts which drove up the price of those contracts, XIV’s true economic value had dropped to

approximately $20, which constituted more than an 80% drop in value from the previous trading

day’s Closing Indicative Value, and thus, according to its own January Supplement, an

Acceleration Event had occurred.




      212.    Yet Credit Suisse, instead of announcing an Acceleration Event, halting trading, or

otherwise protecting investors, continued to profit at its investors’ expense and dramatically




                                              64
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 71 of 122




reduce the redemption costs it would have had to pay to investors as Credit Suisse continued

driving a liquidity squeeze in the VIX futures market.

      213.    By 4:15 p.m., Credit Suisse knew based on the prices of the VIX futures contract it

was buying that XIV’s Closing Indicative Value would decline by 96% from the previous day’s

Closing Indicative Value. The last trade by 4:15 p.m. on February 5, 2018 in the February VIX

futures contract was at $33.20 and the last trade in the March contract was at $27.95. These prices

were 112.5% and 86.8% higher, respectively, than the previous day’s settlement values for the

February and March contracts. The weights to be applied on February 5, 2018 to these two daily

changes were known to Credit Suisse to be 0.35 and 0.65, so the weighted average increase in the

relevant futures settlement values was certain to be 95.77% give or take a trivial amount as a

result of using the average of bid and ask quotes at 4:15 p.m. instead of last trade prices and

because of the tiny daily accrual of interest and fees.

      214.    The percentage change in the S&P 500 on February 5, 2018 was approximately

negative 4%. Historically, the correlation of the front month VIX futures contract to the S&P 500

index should have produced a 15% to 25% jump in the front month VIX futures contract price

from the prior day’s close. Instead, on February 5, 2018, due to Credit Suisse’s liquidity squeeze,

the jump was almost 100%.

  M. Credit Suisse Issues Materially False and Misleading XIV Intraday Indicative Values
     On February 5, 2018

      215.    Throughout the day on February 5, 2018, XIV’s Intraday Indicative Value closely

tracked the XIV market price until approximately 2:30 p.m., when it started to diverge. This

divergence was much more significant in aftermarket trading, and was exceptionally large

between the hours of 4:08 and 5:09 p.m.




                                                65
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 72 of 122




      216.   The following graph depicts the movements of the Intraday Indicative Value

relative to the XIV ETN market prices throughout February 5, 2018:




      217.   The chart below represents the uniqueness and magnitude of the divergence of the

XIV market price and Intraday Indicative Value against the 99.9 percentile of these prior

differences during the month preceding January 29, 2018:




      218.   At 4:09:48 p.m., the XIVIV showed a value of $27.0855, and failed to update until

approximately 4:12:33, when it showed a value of $27.1951. It then updated two more times in


                                             66
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 73 of 122




the next minute, showing a value of $26.3182 at 4:12:47 and a value of $24.8933 at 4:13:03.

After this, the Calculation Agents stopped updating XIVIV altogether. Between 4:35:48 and

4:38:34 p.m., XIVIV changed values slightly to show a value between $24.5645 and $27.0855,

before freezing again at $24.6961 until 5:09:05 p.m., when the Calculation Agents finally updated

XIVIV to $4.2217.

       219.   At all times between 4:09:48 p.m. and 5:09:04 p.m., the Calculation Agents

represented the Intraday Indicative Value to be between $24.8933 and $27.0855 (the “Flatline

Value”), and Reuters data shows that NASDAQ was updating the market with the Flatline Value

at one-second intervals during this period.

       220.   Within 14 seconds after the issuance of the Flatline Value at 4:09:48 p.m., the value

became false and/or misleading to investors when the Intraday Indicative Value stopped updating

and the Flatline Value was continually reported to investors as the current Intraday Indicative

Value despite it no longer representing the actual current value of the Intraday Indicative Value.

       221.   As a result, investors took the Flatline Value as a sign of the relative strength of

XIV and bought XIV Notes at drastically inflated prices between 4:09:48 p.m. and 5:09:04 p.m.

EST.

       222.   As the Flatline Value was posted until 5:09:04 p.m., it served as a new statement

of the Intraday Indicative Value every 15 seconds, as Credit Suisse repeatedly stated in the

January Supplement to investors that the Intraday Indicative Value would be updated every 15

seconds except when a Market Disruption Event had occurred and was disseminated (and in this

event no one disseminated that a Market Disruption Event occurred). Thus, the market considered

the Flatline Value to be the correct, up-to-date Intraday Indicative Value during the 4:09:48 p.m.




                                               67
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 74 of 122




and 5:09:04 p.m. timeframe and relied upon it, because Credit Suisse explicitly told investors that

they should evaluate it before investing in the XIV Notes.

      223.    Given the events of February 5, 2018 and the absence of information disseminated

by Credit Suisse concerning the unreliability of the Intraday Indicative Value and/or that a Market

Disruption Event and/or an Acceleration Event was occurring or had occurred, an average

investor reasonably relied upon the Intraday Indicative Value made available to them by Credit

Suisse through the Calculation Agents.

      224.    This is substantiated by the fact that investors continued to purchase XIV Notes at

inflated market prices as a result of the Flatline Value reflecting a higher Intraday Indicative Value

then what would have been reported if the Intraday Indicative Value had continued to be

disseminated as represented by Credit Suisse. Indeed, during this approximately hour-long

period, investors purchased hundreds of millions worth of XIV Notes when Defendants

represented to the public that the economic value of the Notes was $24.6961 but knew that the

true economic value was already between $4.22 and $4.40.

      225.    Notably, because the XIVIV showed a value between approximately $24 and

approximately $27 throughout this period, investors were led to believe that XIV had not suffered

an Acceleration Event, because those values did not represent an 80% or greater drop from the

previous day’s Closing Indicative Value of $108.3681. Thus, the false XIVIV values

disseminated by the Calculation Agents led investors to believe XIV survived the day’s turmoil

and that the price would bounce back, allowing them to profit on these purchases.

      226.    Further, during this time, investors could not accurately evaluate the Intraday

Indicative Value against the XIV’s market price to follow Credit Suisse’s admonition in the

January Supplement that “[b]efore trading in the secondary market, you should compare the




                                                 68
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 75 of 122




Closing Indicative Value and Intraday Indicative Value with the then-prevailing trading price of

the ETNs.”

      227.    After XIVIV stopped updating, the divergence between XIV’s market price grew

substantially before the market price of the Notes began to fall more precipitously towards the

stagnant Flatline Value.

      228.    By using data only available after the events of February 5, 2018, and applying the

Intraday Indicative Value formula disclosed by Credit Suisse in the January Supplement, the

falsity of the Flatline Value can be seen at each fifteen second interval from 4:09:48 p.m. until

5:09:05 p.m. when the value resumed updating. Below is a chart that depicts this time frame, and

shows XIV’s economic value, the XIVIV as disseminated by Credit Suisse, and the “But-for

XIVIV,” which represents what the true XIVIV should have shown:




      229.    Thus, the Flatline Value was materially false and/or misleading, as it did not

represent the actual Intraday Indicative Value. Moreover, if a Market Disruption Event was

occurring or had occurred during the Flatline Value period, the Flatline Value was misleading as




                                              69
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 76 of 122




Credit Suisse never disclosed to the market that the Flatline Value was unreliable or that a Market

Disruption Event had occurred or was occurring.

        230.   On February 5, 2018, by 4:15 p.m. EST the last trade in the February futures

contract was at $33.20, and the last trade in the March contract was at $27.95. The pricing on

these contracts was 112.5% and 86.8% higher, respectively, than the prior close for the

corresponding February and March futures contracts.

        231.   Thus, the February 5th futures pricing supported an Intraday Indicative Value on

XIV of $4.40 per Note and a Closing Indicative Value of $4.22 per Note. Nevertheless, Credit

Suisse continued to incorrectly report the Flatline Value as $24.6961 until 5:09:05 p.m. Notably,

because of the liquidity squeeze it engineered, Credit Suisse knew definitively XIV’s true Intraday

Indicative Value and that it and the Calculation Agents were disseminating grossly inaccurate

XIVIV values.

        232.   Credit Suisse also knew investors were purchasing XIV at massively inflated values

based on materially misleading XIVIV values which were not being updated in real time based

on the real-time prices of the relevant VIX futures contracts, and that it had a duty to update its

previous assertions regarding the accuracy and real-time pricing of XIVIV.

        233.   But rather than post accurate XIVIV values, disclose to the market that XIVIV was

not to be relied upon, or, alternatively, alert the market that a Market Disruption Event had

occurred, halt trading, or otherwise protect investors, Credit Suisse continued to execute its plan

to drive the liquidity squeeze and run XIV into the ground.

        234.   It was not until 5:09:05 p.m. that the Calculation Agents finally updated the XIVIV

to a value of $4.2217 per Note, nearly 1/6th the value they had disseminated during the previous

hour.




                                               70
Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 77 of 122
Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 78 of 122
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 79 of 122




      241.    In sum, Credit Suisse independently calculated a continuous and accurate NAV for

XIV that was accessible to its traders and certain other employees on a real time basis. In addition,

Credit Suisse’s traders had access to Bloomberg terminals which also calculated a continuous and

accurate market price for XIV and which they continuously monitored. All of these sources of

information were available to Credit Suisse traders on February 5, 2018 during the Flatline Period

and multiple individuals at Credit Suisse were actively monitoring the price of XIV and/or

rebalancing XIV related hedging during the Flatline Period.

      242.    As Credit Suisse traders and other individuals had access to and were monitoring

real-time data concerning the Intraday Indicative Value on February 5, 2018 from multiple

sources, including internal NAV calculations used for risk management and pricing from

Bloomberg terminals, Credit Suisse knew or recklessly disregarded that the materially false

and/or misleading Flatline Value was false and not being properly updated when it was

disseminated to the market. Moreover, Credit Suisse deliberately or recklessly failed to correct

the Flatline Value or declare a market disruption event when it knew or recklessly disregarded

that the Flatline Value was out of sync with the actual NAV of XIV as calculated by Credit Suisse

internally. In other words, Credit Suisse was continuously calculating the correct NAV during

the Flatline Period, but kept that knowledge to itself while the rest of the market relied on the

false Flatline Indicative Value that Credit Suisse was responsible for as a Calculation Agent.

  O. Investors Lose Hundreds of Millions Due To Defendants’ False and Misleading
     Intraday Indicative Value



                                                73
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 80 of 122




       243.    Credit Suisse failed to disclose that it caused the Intraday Indicative Value to stop

updating at 4:09:48 p.m., thereby causing investors to believe the Flatline Value issued by the

Calculation Agents at 4:09:48 p.m. was its current value until it resumed updating at 5:09:05 p.m.

As a result, investors were led to believe that the difference between the market trading price and

the Intraday Indicative Value was substantially and materially less than it was being represented

by Credit Suisse. Nearly 8 million shares of XIV were traded during this period, for between $92

and $35 dollars per Note, i.e. for values an order of magnitude higher than the true value of XIV

at the time.

       244.    Defendants’ failure to disseminate the correct XIVIV—or, at a minimum, alert the

market that Defendants determined a Market Disruption Event occurred—from 4:09:48 p.m. to

5:09:04 p.m. on February 5, 2018 was catastrophic for investors. On February 5, 2018, at 4:00

p.m. EST, the regular-hours market for the trading of the XIV closed. At close, the XIV’s last

trading price was $99. Less than thirty minutes later, during the after-hours market, the price per

XIV Note had dropped to $70.01. By 4:45 p.m., the price had further dropped to $42.81 per XIV

Note. Finally, at 6:28 p.m. the trading price of XIV had declined to a low of $10.16 per Note, a

drop of approximately 89.74% from its closing value.

       245.    Further, what appeared to investors as the relative strength of XIV prices in the face

of the doubling of the VIX volatility levels enticed $700 million of new investments. All of those

investors lost 80% to 90% of the money they invested from 4:08 p.m. to 5:09 p.m, but Credit

Suisse was able to pocket the difference between what they paid and what the XIV Notes were

redeemed for, just a few days later.

   P. Credit Suisse Scheme Results in Hundreds of Millions In Profits and Avoided Costs
      for It at the Expense of Investors




                                                74
     Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 81 of 122




       246.    In Credit Suisse’s Form 6-K announcing its fiscal results for the quarter ended

 March 31, 2018, Credit Suisse stated: “In 1Q18, equity sales and trading revenues of CHF 490

 million increased 30% compared to 4Q17, due to more favorable trading conditions, particularly

 higher levels of volatility which benefited our derivatives business. We had substantially higher

 revenues across flow and structured equity derivatives driven by these more favorable market

 conditions[.]” (Emphasis added).16 This was quite a turnaround for the Bank, which had posted

 its third consecutive annual loss, and had just reported a 22% decline in the equities asset class

 the previous quarter.

       247.    As of January 26, 2018, Credit Suisse had 10,793,880 XIV Notes issued and

 outstanding. On January 29, 2018, Credit Suisse filed the January Supplement announcing that

 it would be offering up to 16.275 million additional XIV Notes to investors. By February 2, 2018,

 Credit Suisse had increased the number of its XIV Notes issued and outstanding to 14,993,880.

 Thus, not even including any shares that may have been redeemed in the interim, in just five

 trading days after the filing of the January Supplement, Credit Suisse had increased the number

 of XIV Notes issued and outstanding by at least 4.2 million Notes, or over 38.9%.

       248.    As noted in the January Supplement, Credit Suisse “expect[s] to receive proceeds

 equal to 100% of the issue price to the public of the ETNs we issue and sell after the Inception

 Date.” Based on the low and high trading market prices for XIV Notes from January 29, 2018

 through February 2, 2018, inclusive, Credit Suisse received gross proceeds of approximately

 $500,388,000 to $567,210,000 on the 4.2 million XIV Notes it sold during this timeframe. The

 XIV Notes that Credit Suisse offered and sold during this time would ultimately serve as a



16
   Credit Suisse, Credit Suisse Earnings Release 1Q18 (Form 6-K, Exhibit 99.1) (April 25, 2018),
https://www.sec.gov/Archives/edgar/data/1053092/000137036818000025/a180425q1-
ex99_1.htm

                                                75
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 82 of 122




windfall to Credit Suisse as it sold the XIV Notes at significantly higher market prices than the

$5.99 it ultimately paid upon their redemption.         After accounting for the $5.99 per Note

redemption cost, Credit Suisse benefited – through a combination of profits, revenue through

lending, and avoided costs – in the range of approximately $475 million to $542 million on just

the 4.2 million XIV Notes it sold in the days before the events of February 5, 2018.

      249.    Beyond the revenue generated on the 4.2 million XIV Notes, Credit Suisse further

benefited by extinguishing the long-term debt liabilities on its balance sheet it held prior to issuing

Notes through the January Supplement for mere pennies on the dollar.                   Moreover, by

extinguishing the long-term debt of the XIV Notes, Credit Suisse was able to capture the

difference beyond the price it received when it sold XIV Notes to investors and the redemption

value of $5.99 it ultimately paid.

  Q. The Credit Suisse Defendants Announce an Acceleration Event, Locking In Their
     Benefits Through Profits and Avoided Redemption Costs

      250.    On February 6, 2018, Credit Suisse issued a press release stating that XIV had

experienced an Acceleration Event, and that Credit Suisse would be liquidating XIV:

      Because the intraday indicative value of XIV on February 5, 2018 was equal to or
      less than twenty percent of the prior day’s closing indicative value, an acceleration
      event has occurred. Credit Suisse expects to deliver an irrevocable call notice with
      respect to the event acceleration of XIV to The Depository Trust Company by no
      later than February 15, 2018. The date of the delivery of the irrevocable call notice,
      which is expected to be February 15, 2018, will constitute the accelerated valuation
      date, subject to postponement due to certain events. The acceleration date for XIV
      is expected to be February 21, 2018, which is three business days after the
      accelerated valuation date. On the acceleration date, investors will receive a cash
      payment per ETN in an amount equal to the closing indicative value of XIV on the
      accelerated valuation date. The last day of trading for XIV is expected to be February
      20, 2018. As of the date hereof, Credit Suisse will no longer issue new units of XIV
      ETNs.

      On February 2, 2018, the closing indicative value was $108.3681. None of the other
      ETNs offered by Credit Suisse are affected by this announcement.




                                                 76
     Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 83 of 122




        251.   The same day, Credit Suisse stated it faced “no material impact” from XIV’s

 collapse. Credit Suisse spokesperson Nicole Sharp told CNBC by email: “We are the issuer of

 the [XIV] ETN and, having issued it, we hedge the risk. We hedge XIV by trading VIX

 futures. . . . The positions constitute part of a portfolio.”17 Credit Suisse continued to maintain,

 despite its knowledge of XIV’s extraordinary popularity as a long term holding for retail

 investors, that XIV “was meant for short-term holding” and that it was marketed exclusively to

 professional investors.18 As alleged in paragraph 93 above, the large stake that retail investors

 held in XIV was well-known at Credit Suisse.

        252.   Pursuant to the announcement of the Acceleration Event, on February 20, 2018,

 XIV ceased trading. On the following day, XIV was terminated and redeemed at $5.99 per Note.

        253.   Underscoring the temporary nature of the liquidity squeeze engineered by Credit

 Suisse on February 5, 2018, the very next trading day, February 6, 2018, short-term VIX futures

 prices dropped precipitously, with the SPVXSP closing at $71.78, down 25.95% from its

 February 5, 2018 close of $96.94.

     R. Facing Investor Outrage and Government Investigations, The Credit Suisse
        Defendants Actively Attempt to Conceal Their Fraud

        254.   The events of February 5, 2018 shocked the market, with reporters and investors

 questioning Credit Suisse as to how XIV could have collapsed so quickly and dramatically,

 causing nearly $2 billion in investor losses.

        255.   Further, nearly immediately after XIV’s collapse, the SEC began investigating

 Credit Suisse. Specifically, according to The Wall Street Journal, the SEC was “examining the



17
   Natasha Turak, Credit Suisse defends controversial financial product at the cetner of the
market turmoil, CNBC (Feb. 7, 2018, 10:42 AM), https://www.cnbc.com/2018/02/07/credit-
suisse-defends-controversial-xiv-etn-amid-market-turmoil.html
18
   Id.

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     Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 84 of 122




 market mayhem, calling Credit Suisse . . . and questioning the bank about [XIV]. . . . Regulatory

 officials asked about how the investment’s performance is calculated and whether retail investors

 were shareholders[.]”19

       256.    Then, on February 14, 2018, Bloomberg published an article noting that “[i]t’s clear

 many individual investors bought [XIV], and for much longer than a day. It’s also clear they

 didn’t understand that they weren’t buying a gun but a live grenade. . . .”20

       257.    Credit Suisse’s response was telling. Defendant Thiam stated: “Really it’s a matter

 for regulators whether they need to stop retail investors from investing in [products like XIV].”21

 In other words, Credit Suisse knew it was selling a dangerous product that was structured and

 used in a manner at odds with Credit Suisse’s characterizations, but saw no problem in profiting

 at investors’ expense and driving their Notes’ redemption values to a meager $5.99 per Note.

       258.    But not only were the Credit Suisse Defendants callous in the face of devastated

 investors, they actively attempted to conceal the fraud through a series of evasive explanations.

 On February 14, 2018, for instance, Defendant Thiam stated that Credit Suisse closed XIV

 because “there is no prospect of recovery. . . . Once you hit that bottom, the structure of the

 product means there is no recovery.”22 But this was patently false. Had Credit Suisse not



19
   Asjylyn Loder and Dave Michaels, Market Volatility Strikes Exchange-Traded Products,
Alarming Investors and Regulators, WSJ (Feb. 12, 2018, 8:00 AM),
https://www.wsj.com/articles/market-volatility-strikes-exchange-traded-products-alarming-
investors-and-regulators-1518440400?mod=searchresults&page=1&pos=1.
20
   Stephen Gandel, Banks Can’t Sell Grenades Without Some Blowback, Bloomberg (Feb. 14,
2018, 2:35 PM), https://www.bloomberg.com/news/articles/2018-02-14/banks-like-credit-suisse-
can-t-sell-grenades-without-blowback
21
   Weizhen Tan and Akiko Fuhjita and Bernie Lo, It is ‘hard to understand’ why investors are
suing Credit Suisse over volatility product, says its CEO, CNBC (Mar. 19, 2018, 12:54 AM),
https://www.cnbc.com/2018/03/19/credit-suisse-vix-etn-lawsuits-tidjane-thiam-says-bank-not-at-
fault.html
22
   Jan-Henrik Foerster and Patrick Winters, Credit Suisse Rallies as Thiam Rides Return of



                                                 78
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 85 of 122




liquidated XIV, its value would have stabilized rapidly. Indeed, by March 6, 2018, XIV would

have been worth approximately $30.88. Instead, Credit Suisse paid investors $5.99 per share

based on XIV’s Closing Indicative Value on February 15, 2018—80.6% less—saving itself

hundreds of millions.

       259.   On February 14, 2018, Defendant Thiam was interviewed by Bloomberg and falsely

stated that, with respect to XIV, the decision to announce an Acceleration Event “was actually to

protect investors. Because the product stopped trading, it was quasi-impossible to price, and we

needed to give certainty to the market at the market open. So before the morning—and this—we

went through a long process, we don’t make these decisions lightly, there are people involved

from every aspect of the business, from compliance to the front office—and they collectively—I

don’t make those types of decisions—they collectively reached a decision which was in the

interest of investors, which was to close it. But there are quite a few products like that in the

market, because they serve a useful purpose. They allow market participants to manage their risk

better.”23 (Emphasis added).

       260.   These assertions, too, were patently false, further supporting Thiam was actively

concealing that the real reason to announce an Acceleration Event was for Credit Suisse to profit

at its investors’ expense and obliterate the redemption value of their Notes. XIV had not “stopped

trading.” To the contrary, investors bought approximately $700 million in XIV Notes during

aftermarket trading on February 5, 2018. Nor was XIV “quasi-impossible to price.” Credit Suisse

failed to offer any explanation for the freeze in updating XIVIV on February 5, 2018. To the



Volatility, Bloomberg (Feb. 14, 2018, 1:35 AM), https://www.bloomberg.com/news/articles/2018-
02-14/credit-suisse-s-thiam-warns-volatility-is-a-double-edged-
sword#xj4y7vzkg.https://www.bloomberg.com/news/articles/2018-02-14/credit-suisse-s-thiam-
warns-volatility-is-a-double-edged-sword.
23
   Id.

                                               79
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 86 of 122




extent the freeze occurred because XIV became “quasi-impossible to price,” this was due to

Credit Suisse’s own actions. In any event, the liquidity squeeze it engineered rapidly subsided

and XIVIV began to update again beginning at 5:09:05 p.m., so Thiam’s claim that Credit Suisse

closed XIV on February 6 because it was “quasi-impossible to price” for an hour on February 5

simply makes no sense.




                                                        In other words, Credit Suisse’s decision to

call XIV had nothing to do with investor protection, and everything to do with protecting Credit

Suisse’s bottom line at the expense of XIV investors.

      261.    Finally, in view of Credit Suisse’s tens or hundreds of millions of dollars in profit

and investors’ $1.8 billion loss, the decision to close XIV was clearly not “in the interest of

investors,” rather it was in Credit Suisse’s interest to announce the Acceleration Event to lock in

the lowest possible redemption value on XIV Notes. Had Credit Suisse acted in the “interests of

investors,” it could have alerted them of an Acceleration Event as early as 4:09 p.m. on February

5, halted trading at that time, halted trading as soon as it knew at approximately 4:10 p.m. that

XIVIV was failing to update in real time, notified investors XIVIV was inaccurate, notified




                                               80
        Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 87 of 122




 investors that the Calculation Agents had determined a Market Disruption Event had occurred, or

 simply not recalled the Note and allowed it to rebound. The deceptive nature of Defendant

 Thiam’s post hoc explanations supports his concealment of the fraud.

          262.     During the same February 14, 2018 Bloomberg interview, Thiam, alluding to his

 three-year restructuring plan, stated that “there will be further cost cuts in the business this

 year . . . .”24

          263.     On March 23, 2018, Defendant Thiam was awarded 9.7 million Swiss francs ($10.2

 million) in compensation for 2017, “as his strategic shift toward managing money for wealthy

 clients showed signs of paying off . . . .”25

          264.     On April 25, 2018, Thiam gave another interview to Bloomberg. He described his

 three-year restructuring plan as: “this is the part we love and we want to grow” and “this is the

 part we don’t want . . . and we said we will get rid of it, and that’s almost done.”26

          265.     In July 2018, Credit Suisse made good on Thiam’s promise to continue cuts when

 it announced the closing of two other VIX-related ETNs, VelocityShares VIX Medium Term

 ETN (VIIZ) and VelocityShares Daily 2x VIX Medium Term ETN (TVIZ).27




24
   Id.
25 25
     Brian Blackstone, Credit Suisse CEO Tidjane Thiam Awarded $10 Million as Strategic Shift
Starts to Pays Off, WSJ (Mar. 23, 2018, 6:04 AM), https://www.wsj.com/articles/credit-suisse-
ceo-tidjane-thiam-was-paid-10-2-million-in-2017-1521790615.
26
   Jan-Henrik Foerster, Credit Suisse Reaps Wealth Management Rewards as Assets Soar,
Bloomberg (Apr. 25, 2018, 1:23 AM), https://www.bloomberg.com/news/articles/2018-04-
25/thiam-s-wealth-management-drive-accelerates-as-new-assets-soar.
27
   Luke Karwa and Carolina Wilson, Credit Suisse Closes Five More Exchange-Traded Notes,
Bloomberg (July 23, 2018, 11:13 AM), https://www.bloomberg.com/news/articles/2018-07-
23/credit-suisse-closes-five-more-volatility-oil-exchange-notes.

                                                 81
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 88 of 122




  S. Defendants’ Other False And Misleading Statements And Omissions

      266.   In addition to knowingly or recklessly disseminating the false and misleading

Flatline Value as detailed in paragraphs 182-98 above, Defendants made several other false and

misleading statements and omissions.

      267.   On January 29, 2018, Credit Suisse filed a pricing supplement (No. VLS ETN-

1/A48) (the “January Supplement”) with the SEC pursuant to Rule 424(b)(2) and in conjunction

with (i) the Registration Statement No. 333-218604-02 (“Registration Statement”), (ii) a

prospectus supplement dated June 30, 2017 and (iii) a prospectus dated June 30, 2017

(“Prospectus”) (collectively, the “Offering Documents”), to offer 16,275,000 XIV Notes at a

denomination and stated principal amount of $10 each. The Registration Statement was signed

by Defendants Thiam and Mathers without their review.

      268.     The January Supplement states:

      We expect to hedge our obligations relating to the ETNs by purchasing or selling
      short the underlying futures, listed or over-the-counter options, futures contracts,
      swaps, or other derivative instruments relating to the applicable underlying Index,
      the VIX Index, the S&P 500® Index, the component securities of the S&P 500®
      Index, or the underlying futures, or other instruments linked to the applicable
      underlying Index, certain exchange traded notes issued by Credit Suisse, the VIX
      Index, the S&P 500® Index, the component securities of the S&P 500® Index, or
      the underlying futures, and adjust the hedge by, among other things, purchasing or
      selling any of the foregoing, at any time and from time to time, and to unwind the
      hedge by selling any of the foregoing, perhaps on or before the applicable Valuation
      Date. We, our affiliates, or third parties with whom we transact, may also enter into,
      adjust and unwind hedging transactions relating to other securities whose returns
      are linked to the applicable underlying Index. Any of these hedging activities may
      adversely affect the level of the applicable underlying Index — directly or
      indirectly by affecting the price of the underlying futures or listed or over-the-
      counter options, futures contracts, swaps, or other derivative instruments relating
      to the applicable underlying Index, the VIX Index, the S&P 500® Index, the
      component securities of the S&P 500® Index, or the underlying futures — and
      therefore the market value of your ETNs and the amount we will pay on your ETNs
      on the relevant Early Redemption Date, Acceleration Date or the Maturity Date. It
      is possible that we, our affiliates, or third parties with whom we transact could
      receive substantial returns with respect to these hedging activities while the value
      of your ETNs decline or become zero. Any profit in connection with such hedging


                                               82
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 89 of 122




      activities will be in addition to any other compensation that and our affiliates
      receive for the sale of the ETNs, which may create an additional incentive to sell
      the ETNs to you.

      We, our affiliates, or third parties with whom we transact may also engage in
      trading in the underlying futures, or listed or over-the-counter options, futures
      contracts, swaps, or other derivative instruments relating to the applicable
      underlying Index, the VIX Index, the S&P 500® Index, the component securities
      of the S&P 500® Index, or the underlying futures, or instruments whose returns are
      linked to the applicable underlying Index, certain exchange traded notes issued by
      Credit Suisse, or the underlying futures or listed or over-the-counter options, futures
      contracts, swaps, or other derivative instruments relating to the applicable
      underlying Index, the VIX Index, the S&P 500® Index, the component securities
      of the S&P 500® Index, or the underlying futures for our or their proprietary
      accounts, for other accounts under our or their management or to facilitate
      transactions, including block transactions, on behalf of customers. Any of these
      activities could adversely affect the level of the applicable underlying Index —
      directly or indirectly by affecting the price of the underlying futures or listed or
      over-the-counter options, futures contracts, swaps, or other derivative instruments
      relating to the applicable underlying Index, the VIX Index, the S&P 500® Index,
      the component securities of the S&P 500® Index, or the underlying futures — and,
      therefore, the market value of your ETNs and the amount we will pay on your ETNs
      on the relevant Early Redemption Date, Acceleration Date or the Maturity Date.
      We may also issue, and we, our affiliates, or third parties with whom we transact
      may also issue or underwrite, other ETNs or financial or derivative instruments
      with returns linked to changes in the level of the applicable underlying Index or the
      underlying futures or listed or over-the-counter options, futures contracts, swaps,
      or other derivative instruments relating to the applicable underlying Index, the VIX
      Index, the S&P 500® Index, the component securities of the S&P 500® Index, or
      the underlying futures. By introducing competing products into the marketplace in
      this manner, we, our affiliates, or third parties with whom we transact could
      adversely affect the market value of your ETNs and the amount we will pay on your
      ETNs on the relevant Early Redemption Date, Acceleration Date or the Maturity
      Date.

      269.    The foregoing statements in paragraph 268 were false and misleading because they

omitted to disclose that: (1) Defendants knew there would be and modeled for an inevitable spike

in the VIX; (2) Defendants knew and modeled for the fact that during the inevitable spike in the

VIX, there would be a liquidity squeeze in the VIX futures market that would inflate the value of

VIX futures; (3) Defendants had knowingly exasperated the lack of liquidity in the VIX futures

market by continuing to issue and lend additional XIV Notes to the market and pump the XIV



                                                83
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 90 of 122




market full of short-sellers incentivized to crash XIV; (4) Defendants had taken steps to protect

Credit Suisse from the inevitable crash of XIV by hedging its position and lending XIV Notes out

to unsuspecting borrowers; (5) Defendants knew and modeled for the fact that the resulting

liquidity squeeze would be so severe that it would wipe out the value of XIV, triggering an

Acceleration Event; and (6) Defendants had designed XIV to fail in order to profit from the

resulting collapse, by pocketing the difference in the purchase price of the XIV Notes and the

redemption value after the Credit Suisse Defendants announced an Acceleration Event.

      270.    Furthermore, as signers of the Registration Statement on behalf of Credit Suisse,

Defendants Thiam and Mathers certified that Credit Suisse met the obligations of using a Form

F-3 stating that “[p]ursuant to the requirements of the Securities Act of 1933, the undersigned

registrant certifies that it has reasonable grounds to believe that it meets all of the requirements

for filing on Form F-3 and has duly caused this registration statement to be signed on its behalf

by the undersigned, thereunto duly authorized . . . .”.

      271.    The January Supplement also states:

      There may be conflicts of interest between you, us, the Redemption Agent, and the
      Calculation Agents

      ...

      As noted above, we, our affiliates, or third parties with whom we transact, including
      JHD, may engage in trading activities related to the applicable underlying Index,
      the VIX Index, the S&P 500® Index, the component securities of the S&P 500®
      Index, or the underlying futures or listed or over-the-counter options, futures
      contracts, swaps, or other instruments linked to the applicable underlying Index,
      certain exchange traded notes issued by Credit Suisse, the VIX Index, the S&P
      500® Index, the component securities of the S&P 500® Index, or the underlying
      futures. These trading activities may present a conflict between your interest in
      your ETNs and the interests we, our affiliates, or third parties with whom we
      transact, including JHD, will have in our or their proprietary accounts, in
      facilitating transactions, including block trades, for our or their customers and
      in accounts under our or their management. These trading activities, if they




                                                84
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 91 of 122




      influence the level of the applicable underlying Index, could be adverse to your
      interests as a beneficial owner of your ETNs.

(Emphasis added).

      272.    The bold and italicized statements in paragraph 271 were false and misleading and

omitted material facts concerning the conflict between XIV investors’ interests and those of

Credit Suisse. At the time the foregoing statements were made, the Credit Suisse Defendants

knew with certainty that their trading activities in VIX futures and lending of XIV Notes

presented a conflict of interest in XIV that was adverse to the interests of XIV’s investors,

because: (1) Defendants knew there would be and modeled for an inevitable spike in the VIX; (2)

Defendants knew and modeled for the fact that during the inevitable spike in the VIX, there would

be a liquidity squeeze in the VIX futures market that would inflate the value of VIX futures; (3)

Defendants had knowingly exasperated the lack of liquidity in the VIX futures market by

continuing to issue and lend additional XIV Notes to the market and pump the XIV market full

of short-sellers incentivized to crash XIV; (4) Defendants had taken steps to protect Credit Suisse

from the inevitable crash of XIV by hedging its position and lending XIV Notes out to

unsuspecting borrowers; (5) Defendants knew and modeled for the fact that the resulting liquidity

squeeze would be so severe that it would wipe out the value of XIV, triggering an Acceleration

Event; and (6) Defendants had designed XIV to fail in order to profit from the resulting collapse,

by pocketing the difference in the purchase price of the XIV Notes and the redemption value after

the Credit Suisse Defendants announced an Acceleration Event.

      273.    The January Supplement also states the following regarding XIV’s Intraday

Indicative Value:

      The “Intraday Indicative Value” for each series of ETNs is designed to approximate the
      economic value of such series of ETNs at a given time. It is calculated using the same
      formula as the Closing Indicative Value, except that instead of using the closing level of



                                               85
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 92 of 122




       the applicable underlying Index, the calculation is based on the most recent intraday level
       of such Index at the particular time. The Intraday Indicative Value of the ETNs will be
       calculated every 15 seconds on each Index Business Day during the period when a
       Market Disruption Event has not occurred or is not continuing and disseminated over the
       Consolidated Tape, or other major market data vendor.

      ...
      The value of each Index will be published by Bloomberg in real time and after the close
      of trading on each Index Business Day . . . The intraday level of each of the Indices is
      calculated in real time by S&P on each S&P 500 VIX Futures Business Day . . . applying
      real time prices of the relevant VIX futures contracts.
      ...
      Investors can compare the trading price of the ETNs (if such concurrent price is
      available) against the Intraday Indicative Value to determine whether the ETNs are
      trading in the secondary market at a premium or a discount to the economic value of the
      ETNs at any given time.
(Emphasis added).

       274.   The bold and italicized statements in paragraph 273 became false and misleading

and omitted material facts when the Calculation Agents failed to update XIV’s Intraday Indicative

Value between 4:09:48 p.m. and 5:09:04 p.m. on February 5, 2018. During this time, Defendants

knew that the Intraday Indicative Value being published was inaccurate, yet failed in their duty

to update the Intraday Indicative Value.

       275.   The January Supplement further states:

       Daily rebalancing of the Indices may impact trading in the underlying futures
       contracts

       The daily rebalancing of the futures contracts underlying the Indices may cause the
       Issuer, our affiliates, or third parties with whom we transact to adjust their hedges
       accordingly. The trading activity associated with these hedging transactions will
       contribute to the trading volume of the underlying futures contracts and may
       adversely affect the market price of such underlying futures contracts and in turn
       the level of the applicable underlying Index.

(Emphasis added).

       276.   The January Supplement additionally states:




                                                86
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 93 of 122




      Daily rebalancing of the leverage amount may impact trading in the
      underlying futures contracts

      The daily rebalancing of the leverage amount of each ETN back to its target may
      cause us, our affiliates, or third parties with whom we transact to adjust their hedges
      accordingly. The trading activity associated with these hedging transactions will
      contribute to the trading volume of the underlying futures and may adversely
      affect the market price of such underlying futures.

(Emphasis added).

      277.    The foregoing statements in paragraphs 275-76 were false and misleading because

they omitted to disclose that: (1) Defendants knew there would be and modeled for an inevitable

spike in the VIX; (2) Defendants knew and modeled for the fact that during the inevitable spike

in the VIX, there would be a liquidity squeeze in the VIX futures market that would inflate the

value of VIX futures; (3) Defendants had knowingly exasperated the lack of liquidity in the VIX

futures market by continuing to issue and lend additional XIV Notes to the market and pump the

XIV market full of short-sellers incentivized to crash XIV; (4) Defendants had taken steps to

protect Credit Suisse from the inevitable crash of XIV by hedging its position and lending XIV

Notes out to unsuspecting borrowers; (5) Defendants knew and modeled for the fact that the

resulting liquidity squeeze would be so severe that it would wipe out the value of XIV, triggering

an Acceleration Event; and (6) Defendants had designed XIV to fail in order to profit from the

resulting collapse, by pocketing the difference in the purchase price of the XIV Notes and the

redemption value after the Credit Suisse Defendants announced an Acceleration Event.

      278.    Moreover, the January Supplement states:

                SUPPLEMENTAL USE OF PROCEEDS AND HEDGING
              One or more of our affiliates before and following the issuance of the ETNs
      of any series may acquire or dispose of the futures contracts underlying the
      applicable Index, or listed or over-the-counter options contracts in, or other
      derivatives or synthetic instruments related to, the applicable underlying Index or
      the S&P 500® Index or the VIX Index to hedge our obligations under the ETNs of
      such series. In the course of pursuing such a hedging strategy, the price at which


                                                87
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 94 of 122




      such positions may be acquired or disposed of may be a factor in determining the
      levels of the applicable underlying Index. Although we and our affiliates have no
      reason to believe that our or their hedging activities will have a material impact
      on the level of the applicable underlying Index, there can be no assurance that
      the level of the applicable underlying Index will not be affected.

(Emphasis added).

      279.    The foregoing statements in paragraph 278 were false and misleading because they

omitted to disclose that: (1) Defendants knew there would be and modeled for an inevitable spike

in the VIX; (2) Defendants knew and modeled for the fact that during the inevitable spike in the

VIX, there would be a liquidity squeeze in the VIX futures market that would inflate the value of

VIX futures; (3) Defendants had knowingly exasperated the lack of liquidity in the VIX futures

market by continuing to issue and lend additional XIV Notes to the market and pump the XIV

market full of short-sellers incentivized to crash XIV; (4) Defendants had taken steps to protect

Credit Suisse from the inevitable crash of XIV by hedging its position and lending XIV Notes out

to unsuspecting borrowers; (5) Defendants knew and modeled for the fact that the resulting

liquidity squeeze would be so severe that it would wipe out the value of XIV, triggering an

Acceleration Event; and (6) Defendants had designed XIV to fail in order to profit from the

resulting collapse, by pocketing the difference in the purchase price of the XIV Notes and the

redemption value after the Credit Suisse Defendants announced an Acceleration Event.

      280.    The January Supplement further states:

              Furthermore, on February 21, 2012, we temporarily suspended further
      issuances of the 2x Long VIX Short Term ETNs due to internal limits on the
      size of ETNs. Since March 23, 2012 in respect of the 2x Long VIX Short Term
      ETNs and beginning July 5, 2016 in respect of the Inverse VIX Short Term
      ETNs, we have placed conditions on our acceptance of offers to purchase these
      ETNs. These conditions include requiring counterparties to sell to us certain
      hedging instruments consistent with our hedging strategy, including but not
      limited to swaps. In addition, we may issue these ETNs into inventory of our
      affiliates to make them available for lending at or about prevailing market



                                              88
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 95 of 122




      rates or to be sold to authorized market makers, other market participants or
      investors.
(Emphasis in original).

         281.   The foregoing statements above in paragraph 280 were false and misleading

because Defendants knew that it was not only lending as much as 90% of its inventoried XIV

Notes to short-sellers, but that it was buying back Notes for the sole purpose of lending these

Notes to short-sellers. Furthermore, the statements were false and misleading because they did

not disclose that Credit Suisse was offering borrowed XIV Notes at below-market rates to entice

third parties to borrow.

         282.   Furthermore, the foregoing statements in paragraph 280 were false and misleading

because they omitted to disclose that: (1) Defendants knew there would be and modeled for an

inevitable spike in the VIX; (2) Defendants knew and modeled for the fact that during the

inevitable spike in the VIX, there would be a liquidity squeeze in the VIX futures market that

would inflate the value of VIX futures; (3) Defendants had knowingly exasperated the lack of

liquidity in the VIX futures market by continuing to issue and lend additional XIV Notes to the

market and pump the XIV market full of short-sellers incentivized to crash XIV; (4) Defendants

had taken steps to protect Credit Suisse from the inevitable crash of XIV by hedging its position

and lending XIV Notes out to unsuspecting borrowers; (5) Defendants knew and modeled for the

fact that the resulting liquidity squeeze would be so severe that it would wipe out the value of

XIV, triggering an Acceleration Event; and (6) Defendants had designed XIV to fail in order to

profit from the resulting collapse, by pocketing the difference in the purchase price of the XIV

Notes and the redemption value after the Credit Suisse Defendants announced an Acceleration

Event.

   T. Additional Allegations of Defendants’ Scienter




                                               89
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 96 of 122




      283.    Credit Suisse clearly possessed actual knowledge of the risk posed by the XIV

Notes and the shortage of liquidity in the VIX futures market, that the actions it took exacerabated

that risk, and that its trading on February 5 directly contributed to the increase in VIX futures

prices and collapse of the XIV Note. The following allegations further support Plaintiffs’

allegations of Defendants’ scienter:

      284.    That Defendants knew or recklessly disregarded that the Flatline Value was

materially false and/or misleading within seconds after its issuance but did nothing to notify

investors supports their scienter. As a Caculation Agent, Credit Suisse was responsible for

calculating and disseminating the Intraday Indicative Values and determining whether a Market

Disruption Event was occurring or had occurred. It was also instrumental in all parts of XIV’s

functioning including the calculation and dissemination of these values. Credit Suisse knew that

the Intraday Indicative Values was not being updated accurately between 4:09:48 p.m. and

5:09:04 p.m. because it had created its own internal model that it was using to monitor the price

for XIV Notes, but did nothing to update the Intraday Indicative Value to the correct value. That

investors lost significant amounts of money during the time the Intraday Indicative Value was not

updating, while Credit Suisse profited from the same events further indicates that Credit Suisse

knew or recklessly disregarded that the Flatline Value issued on behalf of its XIV was false fifteen

seconds immediately after its issuance, and was false at each fifteen-second interval until the

Intraday Indicative Value began updating at 5:09:05 p.m.

      285.    That Defendants Thiam and Mathers did not even bother to review the January

Supplement statements prior to signing them further supports their scienter.

      286.    Moreover, as alleged above, Defendants understood that their own hedging activity

would further promote the collapse of XIV. In particular, Credit Suisse understood full well that




                                                90
     Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 97 of 122




 there was a liquidity crisis with respect to whenever volatility spiked, VIX futures prices would

 predictably rise dramatically. Moreover, because of the limited liquidity of VIX futures, Credit

 Suisse also understood that it could further drive the price of VIX futures higher – and, by

 definition, the price of XIV lower – by purchasing those VIX futures. Thus, between having

 pumped the XIV market full of short-sellers incentivized to crash XIV out of existence, knowing

 swap counterparties would be required to also purchase VIX futures, and being able to buy VIX

 futures itself, Credit Suisse knew that everything was in place for it to crash XIV out of existence

 and trigger the sought-after acceleration event.

       287.    Defendant Thiam’s response to nearly $2 billion in investor losses further supports

 his scienter. Defendant Thiam stated: “Really it’s a matter for regulators whether they need to

 stop retail investors from investing in [products like XIV].”28 In other words, Thiam knew he

 was selling a dangerous product that was structured and being used in a manner at odds with

 Credit Suisse’s characterizations, but saw no problem in profiting at investors’ expense.

       288.    That Defendant Thiam actively attempted to conceal the fraud through a series of

 evasive explanations supports his scienter. On February 14, 2018, Defendant Thiam stated that

 Credit Suisse closed XIV because “there is no prospect of recovery. . . . Once you hit that bottom,

 the structure of the product means there is no recovery.”29 But this was patently false. Had Credit

 Suisse not liquidated XIV, its value would have stabilized rapidly. By March 6, 2018, XIV would




28
   Weizhen Tan and Akiko Fuhjita and Bernie Lo, It is ‘hard to understand’ why investors are
suing Credit Suisse over volatility product, says its CEO, CNBC (Mar. 19, 2018, 12:54 AM),
https://www.cnbc.com/2018/03/19/credit-suisse-vix-etn-lawsuits-tidjane-thiam-says-bank-not-at-
fault.html.
29
   Jan-Henrik Foerster and Patrick Winters, Credit Suisse Rallies as Thiam Rides Return of
Volatility, Bloomberg (Feb. 14, 2018, 1:35 AM), https://www.bloomberg.com/news/articles/2018-
02-14/credit-suisse-s-thiam-warns-volatility-is-a-double-edged-sword#xj4y7vzkg

                                                 91
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 98 of 122




 have been worth approximately $30.88. Instead, Credit Suisse paid investors $5.99 per share

 based on XIV’s Closing Indicative Value on February 15, 2018—80.6% less.

           289.   On February 14, 2018, Defendant Thiam was interviewed by Bloomberg, and stated

 that, with respect to XIV, the decision to announce an Acceleration Event “was actually to protect

 investors. The product stopped trading, it was quasi-impossible to price, and we needed to give

 certainty to the market at the market open. So before the morning—and we went through a long

 process, we don’t make these decisions lightly, there are people involved from every aspect of the

 business, from compliance to the front office—and they collectively—I don’t make these types

 of decisions—they collectively reached a decision which was in the interest of investors, which

 was to close it. But there are quite a few products like that in the market, because they serve a

 useful purpose. They allow market participants to manage their risk better.”30

           290.   These assertions, too, were patently false, further supporting Thiam was actively

 concealing that the real reason to announce an Acceleration Event was for Credit Suisse to profit

 at its investors’ expense. XIV had not “stopped trading.” To the contrary, investors bought

 approximately $700 million in XIV Notes during aftermarket trading on February 5, 2018. Nor

 was XIV “quasi-impossible to price.” Credit Suisse did not offer any explanation for the freeze

 in updating XIVIV on February 5, 2018. To the extent the freeze occurred because XIV became

 “quasi-impossible to price,” this was due to Credit Suisse’s own actions. In any event, the

 liquidity squeeze it engineered rapidly subsided and XIVIV began to update again beginning at

 5:09:05 p.m., so Thiam’s claim that Credit Suisse closed XIV on February 6 because it was

 “quasi-impossible to price” for an hour on February 5 simply makes no sense.




30
     Id.

                                                 92
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 99 of 122




                   In other words, Credit Suisse’s decision to call XIV had nothing to do with investor

 protection, and everything to do with protecting Credit Suisse’s bottom line at the expense of XIV

 investors.

           291.     Finally, in view of Credit Suisse’s hundreds of millions in profit and avoided costs

 and investors’ $1.8 billion loss, the decision to close XIV was clearly not “in the interest of

 investors,” but rather it was in Credit Suisse’s interest to announce the Acceleration Event to lock

 in the lowest possible redemption value on XIV Notes. Had Credit Suisse acted in the “interests

 of investors,” it could have alerted them of an Acceleration Event as early as 4:09:48 p.m. on

 February 5, halted trading at that time, halted trading as soon as it knew at 4:10 p.m. that XIVIV

 was failing to update in real time, notified investors XIVIV was inaccurate, or, alternatively,

 notified investors that the Calculation Agents had determined a Market Disruption Event had

 occurred. The deceptive nature of Defendant Thiam’s post hoc explanations supports his

 concealment of the fraud.

           292.     During the same February 14, 2018 Bloomberg interview, Thiam, alluding to his

 three-year restructuring plan, stated that “there will be further cost cuts in the business this

 year . . . .”31




31
     Id.

                                                     93
     Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 100 of 122




        293.    That Defendant Thiam was awarded 9.7 million Swiss francs ($10.2 million) in

 compensation for 2017, “as his strategic shift toward managing money for wealthy clients showed

 signs of paying off . . . .” further supports his scienter.32

        294.    That the frauds alleged herein are consistent with Credit Suisse’s long history of

 placing its own profits ahead of its investors further supports Defendants’ scienter. On January

 28, 2017, the Department of Justice (“DOJ”) announced a $5.28 billion settlement with Credit

 Suisse stemming from its sales of residential mortgage-backed securities (“RMBS”). The DOJ

 charged that Credit Suisse disregarded its own risk controls and procedures so it could sell, at a

 significant profit, investments it knew would fail. Principal Deputy Associate Attorney General

 Bill Baer stated that “Credit Suisse claimed its mortgagebacked securities were sound, but in the

 settlement announced today the bank concedes that it knew it was peddling investments

 containing loans that were likely to fail[.]” More recently, in November 2017, the New York

 Department of Financial Services announced it had fined Credit Suisse $135 million for its

 conduct in the foreign exchange business, in which Credit Suisse undertook efforts “directed at

 maximizing profits or minimizing losses in Credit Suisse’s trading book, to the detriment of

 customers and a competitive marketplace[.]” The consent order is replete with evidence showing

 that Credit Suisse executives not only knew of, but promoted front-running and the rejection of

 clients’ orders so that Credit Suisse could profit to the detriment of its investors.

     U. Loss Causation And Economic Loss

        295.    During the Class Period, as detailed herein, Defendants engaged in a scheme to

 deceive the market and a course of conduct that artificially inflated and/or maintained the price



32
  Brian Blackstone, Credit Suisse CEO Tidjane Thiam Awarded $10 Million as Strategic Shift
Starts to Pays Off, WSJ (Mar. 23, 2018, 6:04 AM), https://www.wsj.com/articles/credit-suisse-
ceo-tidjane-thiam-was-paid-10-2-million-in-2017-1521790615.

                                                    94
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 101 of 122




of XIV Notes, and operated as a fraud or deceit on Class Period purchasers and sellers of XIV

Notes by failing to disclose and misrepresenting the adverse facts detailed herein and

manipulating the market for XIV Notes. As Defendants’ prior misrepresentations, omissions, and

fraudulent conduct were disclosed and the risks materialized on February 5, 2018, the price of

XIV Notes declined significantly as the prior artificial inflation came out of XIV’s price and

Defendants' artificially manipulated the price of XIV.

        296.   As a result of their purchases of XIV Notes during the Class Period, Lead Plaintiffs

and the other Class members suffered economic loss, i.e. damages, under the federal securities

laws.

        297.   By concealing from investors the adverse facts detailed herein, Defendants

presented a misleading picture of the Bank’s interests in, and plans for, XIV Notes. When the

truth about and risks associated with Defendants’ scheme materialized on February 5, 2018, the

price of XIV Notes declined significantly. This decline removed the inflation from the price of

XIV Notes, causing real economic loss to the Misrepresentation Class members.

        298.   The economic loss, i.e. damages, suffered by Lead Plaintiffs and the other

Misrepresentation Class members was a direct result of Defendants’ fraudulent scheme to

artificially inflate and/or maintain the price of XIV Notes and the subsequent decline in the value

of XIV Notes when Defendants’ prior misrepresentations and other fraudulent conduct were

revealed and the risks associated with it materialized. The Manipulation Class members also

suffered economic loss when the Defendants' manipulated the price of XIV Notes.

        299.   Furthermore, as alleged herein, during the Class Period, Defendants engaged in

practices intended to mislead investors by artificially affecting the prices of XIV Notes.

Defendants employed devices, schemes, and artifices to defraud, and/or engaged in acts,




                                                95
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 102 of 122




practices, and a course of business which operated as a fraud and deceit upon the purchasers of

XIV Notes during the Class Period.

      300.    Lead Plaintiffs, the Manipulation Class and the Misrepresentation Class have

suffered damages from the Defendants’ fraud in that, in reliance on an assumption of an efficient

market free of manipulation, they purchased XIV Notes. Lead Plaintiffs and the

Misrepresentation Class would not have purchased XIV Notes at the prices they paid, or at all, if

they had been aware of Defendants’ fraud, which artificially affected the prices of XIV

Notes. Lead Plaintiffs and the Manipulation Class would not have sold or redeemed the XIV

Notes at the prices at which they were sold or redeemed, if at all, if Defendants had not

manipulated the prices of XIV Notes.

      301.    As a direct and proximate result of Defendants’ wrongful conduct, Lead Plaintiffs

and the other members of the Exchange Act Classes suffered damages in connection with their

purchases of XIV Notes during the Class Period.

  V. Applicability of Presumption of Reliance—Fraud On The Market Doctrine and
     Affiliated Ute Allegations

      302.    Lead Plaintiffs are entitled to a presumption of reliance under Affiliated Ute

Citizens of Utah v. U.S., 406 U.S. 128 (1972), because the claims asserted herein against

Defendants are predicated in part upon material omissions of fact that Defendants had a duty to

disclose.

      303.    In the alternative, Lead Plaintiffs are entitled to a presumption of reliance on

Defendants’ material misrepresentations and omissions and manipulation pursuant to the fraud-

on-the-market doctrine because, at all relevant times, the market for XIV Notes was an efficient

market for the following reasons, among others:

                 a. XIV Notes actively traded on the NASDAQ, a highly efficient, electronic
                    stock market;


                                              96
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 103 of 122




                     b. As a regulated issuer, Credit Suisse filed periodic public reports with
                        NASDAQ;

                     c. Credit Suisse regularly communicated with public investors via established
                        market communication mechanisms, including regular disseminations of
                        press releases on the national circuits of major newswire services and other
                        wide-ranging public disclosures, such as communications with the financial
                        press and other similar reporting services; and

                     d. Credit Suisse and XIV were followed by securities analysts employed by
                        major brokerage firms who wrote reports which were distributed to the sales
                        force and certain customers of their respective brokerage firms. Each of
                        these reports was publicly available and entered the public marketplace.

  W. No Safe Harbor

      304.    The statutory safe harbor applicable to forward-looking statements under certain

circumstances does not apply to any of the false and misleading statements pled in this

Consolidated Complaint.

      305.    Either the statements complained of herein were not forward-looking statements,

but rather were historical statements or statements of purportedly current facts and conditions at

the time the statements were made, or to the extent there were any forward-looking statements,

Credit Suisse’s verbal “Safe Harbor” warnings accompanying its oral forward-looking statements

issued during the Class Period were ineffective to shield those statements from liability.

      306.    To the extent that any of the false and misleading statements alleged herein can be

construed as forward-looking, those statements were not accompanied by meaningful cautionary

language identifying important facts that could cause actual results to differ materially from those

in the statements.

      307.    To the extent that any of the false and misleading statements alleged herein can be

construed as forward-looking, Defendants are liable for those false or misleading statements

because, at the time each such statement was made, the speaker knew the forward-looking

statement was false or misleading, and the forward-looking statement was authorized and/or


                                                 97
      Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 104 of 122




approved by an executive officer of Credit Suisse who knew that the forward-looking statement

was false. None of the historic or present tense statements made by Defendants were assumptions

underlying or relating to any plan, projection, or statement of future economic performance, as

they were not stated to be such assumptions underlying or relating to any projection or statement

of future economic performance when made, nor were any of the projections or forecasts made

by Defendants expressly related to, or stated to be dependent on, those historic or present tense

statements when made.

VI.     CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

                                        COUNT ONE
                     Violation of Section 10(b) of the Exchange Act and
                          Rule 10b-5(b) Promulgated Thereunder

        308.   Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.

        309.   During the Class Period, Defendants made, had authority over, or controlled the

materially false and misleading statements specified above, which they knew or deliberately

disregarded were misleading, in that they contained misrepresentations and failed to disclose

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading.

        310.   Defendants made untrue statements of material fact and/or omitted to state material

facts necessary to make the statements not misleading.

        311.   Lead Plaintiffs and the Misrepresentation Class have suffered damages in that, in

reliance on the integrity of the market, they paid artificially inflated or deflated prices for XIV

Notes. Lead Plaintiffs and the Misrepresentation Class would not have purchased XIV Notes at




                                               98
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 105 of 122




the prices they paid, or at all, if they had been aware that the market prices had been artificially

and falsely inflated by Defendants’ misleading statements and omissions.

      312.    As a direct and proximate result of Defendants’ wrongful conduct, Lead Plaintiffs

and the other members of the Misrepresentation Class suffered damages in connection with their

purchases or sales of XIV Notes during the Class Period.

                                       COUNT TWO
                    Violation of Section 10(b) of the Exchange Act and
                   Rules 10b-5(a) and 10b-5(c) Promulgated Thereunder

      313.    Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.

      314.    During the Class Period, Defendants engaged in conduct intended to mislead

investors by artificially affecting the price of XIV Notes. Defendants employed devices, schemes,

and artifices to defraud, and/or engaged in acts, practices, and a course of business which operated

as a fraud and deceit upon the purchasers of XIV Notes during the Class Period.

      315.    Lead Plaintiffs and the Manipulation Class have suffered damages from the

Defendants’ manipulative acts in that, in reliance on an assumption of an efficient market free of

manipulation, they purchased or sold XIV Notes at manipulated prices. Lead Plaintiffs and the

Manipulation Class would not have purchased XIV Notes at the prices they paid, or at all, or been

forced to redeem their XIV Notes at the redemption price if they had been aware of Defendants’

manipulative conduct which artificially affected the prices of XIV Notes.

      316.    As a direct and proximate result of Defendants’ wrongful conduct, Lead Plaintiffs

and the other members of the Manipulation Class suffered damages in connection with their

purchases or sales of XIV Notes during the Class Period.




                                                99
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 106 of 122




                                      COUNT THREE
                       Violation of Section 20(a) of the Exchange Act
                            (Against the Individual Defendants)

      317.    Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.

      318.    The Individual Defendants acted as controlling persons of Credit Suisse and CSI

within the meaning of Section 20(a) of the Exchange Act as alleged herein. By reason of their

positions as officers of Credit Suisse and CSI and their culpable participation, as alleged above,

the Individual Defendants had the power and authority to cause Credit Suisse and CSI to engage

in the wrongful conduct complained of herein.

      319.    By reason of such conduct, the Individual Defendants are liable pursuant to Section

20(a) of the Exchange Act.

                                      COUNT FOUR
                       Violation of Section 20(a) of the Exchange Act
                                   (Against Credit Suisse)

      320.    Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.

      321.    Credit Suisse acted as a controlling persons of CSI within the meaning of Section

20(a) of the Exchange Act as alleged herein. By reason of their ownership of CSI and their

culpable participation as alleged above, Credit Suisse had the power and authority to cause CSI

to engage in the wrongful conduct complained of herein.

      322.    By reason of such conduct, Credit Suisse are liable pursuant to Section 20(a) of the

Exchange Act.




                                              100
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 107 of 122




                                       COUNT FIVE
                      Violation of Section 9(a)(4) of the Exchange Act

      323.    Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.

      324.    During the Class Period, Defendants had authority over or controlled the materially

false and misleading statements specified above, which they knew or deliberately disregarded

were misleading in that they contained misrepresentations and failed to disclose material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

      325.    Defendants made untrue statements of material fact and/or omitted to state material

facts necessary to make the statements not misleading

      326.    Lead Plaintiffs and the Misrepresentation Class have suffered damages in that, in

reliance on the integrity of the market, they paid artificially inflated prices for XIV Notes. Lead

Plaintiffs and the Misrepresentation Class would not have purchased XIV Notes at the prices they

paid, or at all, if they had been aware that the market prices had been artificially and falsely

inflated by the Defendants’ misleading statements.

      327.    As a direct and proximate result of the Defendants’ wrongful conduct, Lead

Plaintiffs and the other members of the Misrepressentation Class suffered damages in connection

with their purchases or sales of XIV Notes during the Class Period.

                                        COUNT SIX
                        Violation of Section 9(f) of the Exchange Act

      328.    Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.




                                               101
       Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 108 of 122




         329.   During the Class Period, Defendants willfully participated in the violation of

  Section 9(a) of the Exchange Act. Defendants willfully participated in the the making of, or

  control over, untrue statements of material fact and/or omissions to state material facts necessary

  to make the statements not misleading

         330.   Lead Plaintiffs and the Misrepresentation Class have suffered damages in that, in

  reliance on the integrity of the market, they paid artificially inflated prices for XIV Notes. Lead

  Plaintiffs and the Misrepresentation Class would not have purchased XIV Notes at the prices they

  paid, or at all, if they had been aware that the market prices had been artificially and falsely

  inflated by the Defendants’ misleading statements and omissions.

         331.   As a direct and proximate result of Defendants’ willful participation in the

  foregoing wrongful conduct, Lead Plaintiffs and the other members of the Manipulation Class

  suffered damages in connection with their purchases of XIV Notes during the Class Period.

VII.      SECURITIES ACT ALLEGATIONS

         332.   In the allegations and claims set forth in this part of the Consolidated Complaint,

  Lead Plaintiffs assert a series of strict liability and negligence claims against Defendants pursuant

  to the Securities Act on behalf of themselves and the Securities Act Class (as defined in ¶ 44).

         333.   Lead Plaintiffs’ Securities Act claims are not based on any allegations of knowing

  or reckless misconduct by Defendants. Lead Plaintiffs’ Securities Act claims do not allege, and

  do not sound in, fraud, and Lead Plaintiffs specifically disclaim any reference to or reliance upon

  allegations of fraud in these non-fraud claims and allegations.

         A.     The Offering Documents

         334.   During the Class Period, Credit Suisse conducted one securities offering on January

  29, 2018, when it filed a pricing supplement (No. VLS ETN-1/A48) (the “January Supplement”)

  with the SEC pursuant to Rule 424(b)(2) and in conjunction with (i) the Registration Statement


                                                  102
  Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 109 of 122




No. 333-218604-02 (“Registration Statement”), (ii) a prospectus supplement dated June 30, 2017,

and (iii) a prospectus dated June 30, 2017 (“Prospectus”) (collectively, the “Offering

Documents”), to offer 16,275,000 XIV Notes at a denomination and stated principal amount of

$10 each.

      335.   The Registration Statement and January Prospectus Supplement was signed by,

among others, the Individual Defendants, despite them never reading or reviewing the

Registration Statement or January Prospecus Supplement.

      B.     False And Misleading Statements In The Offering Documents

      336.   On January 29, 2018, Credit Suisse filed a pricing supplement (No. VLS ETN-

1/A48) (the “January Supplement”) with the SEC pursuant to Rule 424(b)(2) and in conjunction

with (i) the Registration Statement No. 333-218604-02 (“Registration Statement”), (ii) a

prospectus supplement dated June 30, 2017 and (iii) a prospectus dated June 30, 2017

(“Prospectus”) (collectively, the “Offering Documents”), to offer 16,275,000 XIV Notes at a

denomination and stated principal amount of $10 each. The Registration Statement was signed

by Defendants Thiam and Mathers without their review.

      337.     The January Supplement states:

      We expect to hedge our obligations relating to the ETNs by purchasing or selling
      short the underlying futures, listed or over-the-counter options, futures contracts,
      swaps, or other derivative instruments relating to the applicable underlying Index,
      the VIX Index, the S&P 500® Index, the component securities of the S&P 500®
      Index, or the underlying futures, or other instruments linked to the applicable
      underlying Index, certain exchange traded notes issued by Credit Suisse, the VIX
      Index, the S&P 500® Index, the component securities of the S&P 500® Index, or
      the underlying futures, and adjust the hedge by, among other things, purchasing or
      selling any of the foregoing, at any time and from time to time, and to unwind the
      hedge by selling any of the foregoing, perhaps on or before the applicable Valuation
      Date. We, our affiliates, or third parties with whom we transact, may also enter into,
      adjust and unwind hedging transactions relating to other securities whose returns
      are linked to the applicable underlying Index. Any of these hedging activities may
      adversely affect the level of the applicable underlying Index — directly or
      indirectly by affecting the price of the underlying futures or listed or over-the-


                                               103
  Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 110 of 122




      counter options, futures contracts, swaps, or other derivative instruments relating
      to the applicable underlying Index, the VIX Index, the S&P 500® Index, the
      component securities of the S&P 500® Index, or the underlying futures — and
      therefore the market value of your ETNs and the amount we will pay on your ETNs
      on the relevant Early Redemption Date, Acceleration Date or the Maturity Date. It
      is possible that we, our affiliates, or third parties with whom we transact could
      receive substantial returns with respect to these hedging activities while the value
      of your ETNs decline or become zero. Any profit in connection with such hedging
      activities will be in addition to any other compensation that and our affiliates
      receive for the sale of the ETNs, which may create an additional incentive to sell
      the ETNs to you.

      We, our affiliates, or third parties with whom we transact may also engage in
      trading in the underlying futures, or listed or over-the-counter options, futures
      contracts, swaps, or other derivative instruments relating to the applicable
      underlying Index, the VIX Index, the S&P 500® Index, the component securities
      of the S&P 500® Index, or the underlying futures, or instruments whose returns are
      linked to the applicable underlying Index, certain exchange traded notes issued by
      Credit Suisse, or the underlying futures or listed or over-the-counter options, futures
      contracts, swaps, or other derivative instruments relating to the applicable
      underlying Index, the VIX Index, the S&P 500® Index, the component securities
      of the S&P 500® Index, or the underlying futures for our or their proprietary
      accounts, for other accounts under our or their management or to facilitate
      transactions, including block transactions, on behalf of customers. Any of these
      activities could adversely affect the level of the applicable underlying Index —
      directly or indirectly by affecting the price of the underlying futures or listed or
      over-the-counter options, futures contracts, swaps, or other derivative instruments
      relating to the applicable underlying Index, the VIX Index, the S&P 500® Index,
      the component securities of the S&P 500® Index, or the underlying futures — and,
      therefore, the market value of your ETNs and the amount we will pay on your ETNs
      on the relevant Early Redemption Date, Acceleration Date or the Maturity Date.
      We may also issue, and we, our affiliates, or third parties with whom we transact
      may also issue or underwrite, other ETNs or financial or derivative instruments
      with returns linked to changes in the level of the applicable underlying Index or the
      underlying futures or listed or over-the-counter options, futures contracts, swaps,
      or other derivative instruments relating to the applicable underlying Index, the VIX
      Index, the S&P 500® Index, the component securities of the S&P 500® Index, or
      the underlying futures. By introducing competing products into the marketplace in
      this manner, we, our affiliates, or third parties with whom we transact could
      adversely affect the market value of your ETNs and the amount we will pay on your
      ETNs on the relevant Early Redemption Date, Acceleration Date or the Maturity
      Date.

      338.   The foregoing statements in paragraph 337 were false and misleading because they

omitted to disclose that: (1) Defendants had modeled for an inevitable spike in the VIX; (2)



                                               104
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 111 of 122




Defendants modeled for the fact that during the inevitable spike in the VIX, there would be a

liquidity squeeze in the VIX futures market that would inflate the value of VIX futures; (3)

Defendants had exasperated the lack of liquidity in the VIX futures market by continuing to issue

and lend additional XIV Notes to the market and pump the XIV market full of short-sellers

incentivized to crash XIV; (4) Defendants had taken steps to protect Credit Suisse from the

inevitable crash of XIV by hedging its position and lending XIV Notes out to unsuspecting

borrowers; (5) Defendants modeled for the fact that the resulting liquidity squeeze would be so

severe that it would wipe out the value of XIV, triggering an Acceleration Event; and (6)

Defendants had designed XIV to fail in order to profit from the resulting collapse, by pocketing

the difference in the purchase price of the XIV Notes and the redemption value after the Credit

Suisse Defendants announced an Acceleration Event.

      339.    Furthermore, as signers of the Registration Statement on behalf of Credit Suisse,

Defendants Thiam and Mathers falsely certified that Credit Suisse met the obligations of using a

Form F-3 stating that “[p]ursuant to the requirements of the Securities Act of 1933, the

undersigned registrant certifies that it has reasonable grounds to believe that it meets all of the

requirements for filing on Form F-3 and has duly caused this registration statement to be signed

on its behalf by the undersigned, thereunto duly authorized . . . .”.

      340.    The January Supplement also states:

      There may be conflicts of interest between you, us, the Redemption Agent, and the
      Calculation Agents

      ...

      As noted above, we, our affiliates, or third parties with whom we transact, including
      JHD, may engage in trading activities related to the applicable underlying Index,
      the VIX Index, the S&P 500® Index, the component securities of the S&P 500®
      Index, or the underlying futures or listed or over-the-counter options, futures
      contracts, swaps, or other instruments linked to the applicable underlying Index,



                                                105
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 112 of 122




      certain exchange traded notes issued by Credit Suisse, the VIX Index, the S&P
      500® Index, the component securities of the S&P 500® Index, or the underlying
      futures. These trading activities may present a conflict between your interest in
      your ETNs and the interests we, our affiliates, or third parties with whom we
      transact, including JHD, will have in our or their proprietary accounts, in
      facilitating transactions, including block trades, for our or their customers and
      in accounts under our or their management. These trading activities, if they
      influence the level of the applicable underlying Index, could be adverse to your
      interests as a beneficial owner of your ETNs.

(Emphasis added).

      341.    The bold and italicized statements in paragraph 340 were false and misleading and

omitted material facts concerning the conflict between XIV investors’ interests and those of

Credit Suisse. At the time the foregoing statements were made, (1) Defendants knew there would

be and modeled for an inevitable spike in the VIX; (2) Defendants modeled for the fact that during

the inevitable spike in the VIX, there would be a liquidity squeeze in the VIX futures market that

would inflate the value of VIX futures; (3) Defendants exasperated the lack of liquidity in the

VIX futures market by continuing to issue and lend additional XIV Notes to the market and pump

the XIV market full of short-sellers incentivized to crash XIV; (4) Defendants had taken steps to

protect Credit Suisse from the inevitable crash of XIV by hedging its position and lending XIV

Notes out to unsuspecting borrowers; (5) Defendants modeled for the fact that the resulting

liquidity squeeze would be so severe that it would wipe out the value of XIV, triggering an

Acceleration Event; and (6) Defendants had designed XIV to fail in order to profit from the

resulting collapse, by pocketing the difference in the purchase price of the XIV Notes and the

redemption value after the Credit Suisse Defendants announced an Acceleration Event.

      342.    The January Supplement also states the following regarding XIV’s Intraday

Indicative Value

      The “Intraday Indicative Value” for each series of ETNs is designed to approximate the
      economic value of such series of ETNs at a given time. It is calculated using the same



                                              106
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 113 of 122




       formula as the Closing Indicative Value, except that instead of using the closing level of
       the applicable underlying Index, the calculation is based on the most recent intraday level
       of such Index at the particular time. The Intraday Indicative Value of the ETNs will be
       calculated every 15 seconds on each Index Business Day during the period when a
       Market Disruption Event has not occurred or is not continuing and disseminated over the
       Consolidated Tape, or other major market data vendor.

      ...
      The value of each Index will be published by Bloomberg in real time and after the close
      of trading on each Index Business Day . . . The intraday level of each of the Indices is
      calculated in real time by S&P on each S&P 500 VIX Futures Business Day . . . applying
      real time prices of the relevant VIX futures contracts.
      ...
      Investors can compare the trading price of the ETNs (if such concurrent price is
      available) against the Intraday Indicative Value to determine whether the ETNs are
      trading in the secondary market at a premium or a discount to the economic value of the
      ETNs at any given time.
(Emphasis added).

       343.   The bold and italicized statements in paragraph 342 became false and misleading

and omitted material facts when the Calculation Agents failed to update XIV’s Intraday Indicative

Value between 4:09:48 p.m. and 5:09:04 p.m. on February 5, 2018.

       344.   The January Supplement further states:

       Daily rebalancing of the Indices may impact trading in the underlying futures
       contracts

       The daily rebalancing of the futures contracts underlying the Indices may cause the
       Issuer, our affiliates, or third parties with whom we transact to adjust their hedges
       accordingly. The trading activity associated with these hedging transactions will
       contribute to the trading volume of the underlying futures contracts and may
       adversely affect the market price of such underlying futures contracts and in turn
       the level of the applicable underlying Index.

(Emphasis added).

       345.   The January Supplement additionally states:

       Daily rebalancing of the leverage amount may impact trading in the
       underlying futures contracts




                                               107
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 114 of 122




      The daily rebalancing of the leverage amount of each ETN back to its target may
      cause us, our affiliates, or third parties with whom we transact to adjust their hedges
      accordingly. The trading activity associated with these hedging transactions will
      contribute to the trading volume of the underlying futures and may adversely
      affect the market price of such underlying futures.

(Emphasis added).

      346.    The foregoing statements in paragraphs 345 were false and misleading because they

omitted to disclose that: (1) Defendants modeled for an inevitable spike in the VIX; (2)

Defendants modeled for the fact that during the inevitable spike in the VIX, there would be a

liquidity squeeze in the VIX futures market that would inflate the value of VIX futures; (3)

Defendants exasperated the lack of liquidity in the VIX futures market by continuing to issue and

lend additional XIV Notes to the market and pump the XIV market full of short-sellers

incentivized to crash XIV; (4) Defendants had taken steps to protect Credit Suisse from the

inevitable crash of XIV by hedging its position and lending XIV Notes out to unsuspecting

borrowers; (5) Defendants modeled for the fact that the resulting liquidity squeeze would be so

severe that it would wipe out the value of XIV, triggering an Acceleration Event; and (6)

Defendants had designed XIV to fail in order to profit from the resulting collapse, by pocketing

the difference in the purchase price of the XIV Notes and the redemption value after the Credit

Suisse Defendants announced an Acceleration Event.

      347.    Moreover, the January Supplement states:

                SUPPLEMENTAL USE OF PROCEEDS AND HEDGING
              One or more of our affiliates before and following the issuance of the ETNs
      of any series may acquire or dispose of the futures contracts underlying the
      applicable Index, or listed or over-the-counter options contracts in, or other
      derivatives or synthetic instruments related to, the applicable underlying Index or
      the S&P 500® Index or the VIX Index to hedge our obligations under the ETNs of
      such series. In the course of pursuing such a hedging strategy, the price at which
      such positions may be acquired or disposed of may be a factor in determining the
      levels of the applicable underlying Index. Although we and our affiliates have no
      reason to believe that our or their hedging activities will have a material impact


                                               108
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 115 of 122




       on the level of the applicable underlying Index, there can be no assurance that
       the level of the applicable underlying Index will not be affected.

(Emphasis added).

       348.    The foregoing statements in paragraph 347 were false and misleading because they

omitted to disclose that: (1) Defendants modeled for an inevitable spike in the VIX; (2)

Defendants modeled for the fact that during the inevitable spike in the VIX, there would be a

liquidity squeeze in the VIX futures market that would inflate the value of VIX futures; (3)

Defendants exasperated the lack of liquidity in the VIX futures market by continuing to issue and

lend additional XIV Notes to the market and pump the XIV market full of short-sellers

incentivized to crash XIV; (4) Defendants had taken steps to protect Credit Suisse from the

inevitable crash of XIV by hedging its position and lending XIV Notes out to unsuspecting

borrowers; (5) Defendants modeled for the fact that the resulting liquidity squeeze would be so

severe that it would wipe out the value of XIV, triggering an Acceleration Event; and (6)

Defendants had designed XIV to fail in order to profit from the resulting collapse, by pocketing

the difference in the purchase price of the XIV Notes and the redemption value after the Credit

Suisse Defendants announced an Acceleration Event.

       349.    The January Supplement further states:

               Furthermore, on February 21, 2012, we temporarily suspended further
       issuances of the 2x Long VIX Short Term ETNs due to internal limits on the
       size of ETNs. Since March 23, 2012 in respect of the 2x Long VIX Short Term
       ETNs and beginning July 5, 2016 in respect of the Inverse VIX Short Term
       ETNs, we have placed conditions on our acceptance of offers to purchase these
       ETNs. These conditions include requiring counterparties to sell to us certain
       hedging instruments consistent with our hedging strategy, including but not
       limited to swaps. In addition, we may issue these ETNs into inventory of our
       affiliates to make them available for lending at or about prevailing market
       rates or to be sold to authorized market makers, other market participants or
       investors.

(Emphasis in original).


                                              109
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 116 of 122




       350.    The foregoing statements above in paragraph 350 were false and misleading

because Defendants were not only lending as much as 90% of its inventoried XIV Notes to short-

sellers, but was buying back Notes for the sole purpose of lending these Notes to short-sellers.

Furthermore, the statements were false and misleading because they did not disclose that Credit

Suisse was offering borrowed XIV Notes at below-market rates to entice third parties to borrow.

Finally, these statements were false and misleading because they failed to disclose to XIV

investors that, at the next (inevitable) volatility spike, the short-sellers would be incentivized to

purchase VIX futures, thereby bringing about a crash of the XIV Notes and locking in profits for

the short-sellers.

       351.    Furthermore, the foregoing statements in paragraph 350 were false and misleading

because they omitted to disclose that: (1) Defendants modeled for an inevitable spike in the VIX;

(2) Defendants modeled for the fact that during the inevitable spike in the VIX, there would be a

liquidity squeeze in the VIX futures market that would inflate the value of VIX futures; (3)

Defendants exasperated the lack of liquidity in the VIX futures market by continuing to issue and

lend additional XIV Notes to the market and pump the XIV market full of short-sellers

incentivized to crash XIV; (4) Defendants had taken steps to protect Credit Suisse from the

inevitable crash of XIV by hedging its position and lending XIV Notes out to unsuspecting

borrowers; (5) Defendants modeled for the fact that the resulting liquidity squeeze would be so

severe that it would wipe out the value of XIV, triggering an Acceleration Event; and (6)

Defendants had designed XIV to fail in order to profit from the resulting collapse, by pocketing

the difference in the purchase price of the XIV Notes and the redemption value after the Credit

Suisse Defendants announced an Acceleration Event.




                                                110
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 117 of 122




      C.      Claims For Relief Under The Securities Act

                                          COUNT SEVEN
                            Violation of Section 11 of the Securities Act

      352.    Lead Plaintiffs repeat and reallege each and every allegation in Section VII(A)

above as if fully set forth herein. For the purposes of this claim, Lead Plaintiffs assert only strict

liability and negligence claims and expressly disclaim any claim of fraud or intentional

misconduct.

      353.    This claim is brought against Defendants on behalf of Lead Plaintiffs and other

members of the Securities Act Class who, during the Class Period, purchased or acquired XIV

Notes pursuant and/or traceable to the January Supplement (and the offering documents

incorporated by reference therein), and were damaged by the acts alleged herein.

      354.    As discussed in paragraph 154, on January 29, 2018, Credit Suisse offered

16,275,000 XIV Notes, and sold to investors at least 4.2 million of those Notes. Credit Suisse

was the issuer of the Notes pursuant to the Registration Statement within the meaning of Section

11 of the Securities Act.

      355.    The Individual Defendants each signed the Registration Statement as a senior

officer of Credit Suisse within the meaning of Section 11 of the Securities Act.

      356.    The Notes were issued and sold pursuant to the Registration Statement (which

incorporated by reference the remaining Offering Documents). All purchases of the registered

common stock after the issuance of the Registration Statement are traceable to the Registration

Statement.

      357.    The January Supplement contained untrue statements of material fact and omitted

to state material facts required to be stated therein or necessary to make the statements therein not




                                                111
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 118 of 122




misleading. The facts misstated and omitted would have been material to a reasonable person

reviewing the January Supplement.

      358.     As the issuer of the XIV Notes, Credit Suisse is strictly liable for the untrue

statements of material fact. The Individual Defendants owed to Lead Plaintiffs and the Securities

Act Class the duty to make a reasonable and diligent investigation of the statements contained in

the January Supplement, to ensure that the statements contained or incorporated by reference

therein were true, and that there was no omission to state a material fact required to be stated in

order to make the statements contained therein not misleading. Neither of the Individual

Defendants made a reasonable investigation or possessed reasonable grounds for the belief that

the statements contained in the January Supplement were accurate and complete in all material

respects.    Had they exercised reasonable care, they would have known of the material

misstatements and omissions alleged herein.

      359.     Lead Plaintiffs and members of the Securities Act Class purchased XIV Notes

issued in, or traceable to, the January Supplement (and the remaining offering documents

incorporated by reference therein) and were damaged thereby.

      360.     Lead Plaintiffs and members of the Securities Act Class did not know, nor in the

exercise of reasonable diligence could they have known, of the untrue statements of material facts

or omissions of material facts in the Offering Documents when they purchased or acquired their

XIV Notes.

      361.     This claim is brought within one year after the discovery of the untrue statements

and omissions, and within three years after the issuance of the January Supplement.

      362.     By reason of the foregoing, Defendants are liable to Lead Plaintiffs and the

members of the Securities Act Class for violations of Section 11 of the Securities Act.




                                               112
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 119 of 122




                                        COUNT EIGHT
                          Violation of Section 15 of the Securities Act
                             (Against the Individual Defendants)

      363.    Lead Plaintiffs repeat and reallege each and every allegation in Section VII(A)

above as if fully set forth herein. For the purposes of this claim, Lead Plaintiffs assert only strict

liability and negligence claims and expressly disclaim any claim of fraud or intentional

misconduct.

      364.    This claim is brought pursuant to Section 15 of the Securities Act against the

Individual Defendants on behalf of Lead Plaintiffs and other members of the Securities Act Class

who, during the Class Period, purchased or acquired XIV Notes pursuant and/or traceable to the

January Supplement (and the Offering Documents incorporated by reference therein), and were

damaged by the acts alleged herein.

      365.    As alleged herein, Credit Suisse and the Individual Defendants violated Section 11

of the Securities Act by issuing the January Supplement, which included materially untrue

statements of fact and omitted to state material facts required to be stated therein or necessary to

make the statements therein not misleading. The Individual Defendants were controlling persons

of Credit Suisse when the January Supplement was filed and became effective due to their senior

executive positions therewith; their direct involvement it Credit Suisse’s day-to-day operations;

and their signature of the Offering Documents.

      366.    By virtue of their exercise of control over Credit Suisse, the Individual Defendants

had the power to influence and control, and did influence and control, directly or indirectly, the

decision-making of Credit Suisse, including the content of its public statements and of the January

Supplement.




                                                113
    Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 120 of 122




        367.    The Individual Defendants did not make a reasonable investigation or possess

 reasonable grounds for the belief that the January Supplement was accurate and complete in all

 material respects. Had they exercised reasonable care, they would have known of the material

 misstatements and omissions alleged herein.

        368.    This claim is brought within one year after the discovery of the untrue statements

 and omissions, and within three years after the issuance of the January Supplement.

        369.    By reason of the foregoing, the Individual Defendants are liable to Lead Plaintiffs

 and the members of the Securities Act Class for violations of Section 15 of the Securities Act.

VIII.        JURY TRIAL DEMAND

        370.    Pursuant to Federal Rule of Civil Procedure 38(b), Lead Plaintiffs demand a trial

 by jury of all of the claims asserted in this Amended Complaint so triable.

 IX.         PRAYER FOR RELIEF

        WHEREFORE, Lead Plaintiffs pray that the Court enter judgment on their behalf and on

behalf of the Classes herein, adjudging and decreeing that:

        A.      This action may proceed as a class action, with Lead Plaintiffs as the designated

Class representatives and Lead Plaintiffs’ counsel designated as Class Counsel;

        B.      Lead Plaintiffs and the members of the Classes recover damages sustained by them,

as provided by law, and that a judgment in favor of Lead Plaintiffs and the Classes be entered

against the Defendants, jointly and severally, in an amount permitted pursuant to such law;

        C.      Lead Plaintiffs and members of the Classes be awarded pre-judgment and post-

judgment interest, and that such interest be awarded at the highest legal rate from and after the date

of service of the initial complaint in this action;




                                                  114
   Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 121 of 122




       D.     Lead Plaintiffs and members of the Classes recover their costs of this suit, including

reasonable attorneys’ fees as provided by law; and

       E.     Lead Plaintiffs and members of the Classes receive such other and further relief as

may be just and proper.

 Dated: April 28, 2023                           Respectfully submitted,

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                                               115
Case 1:18-cv-02268-AT-SN Document 286-1 Filed 04/28/23 Page 122 of 122




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                                 116
